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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


    FLORIDA COASTAL SCHOOL
    OF LAW, INC.,

                  Plaintiff,
                                                          Case No. 3:21-cv-721-MMH-JBT
    vs.

    MIGUEL CARDONA, in his official
    capacity as Secretary of the U.S.
    Department of Education, and the
    UNITED STATES DEPARTMENT
    OF EDUCATION,


                  Defendants.
                                              /


                                            ORDER

           THIS CAUSE is before the Court on Plaintiff’s Emergency Motion for

    Temporary Restraining Order and/or Preliminary Injunction and Memorandum

    of Law (Doc. 5; Motion) filed on July 20, 2021.1 On July 28, 2021, Defendants

    Miguel Cardona in his official capacity as Secretary of the U.S. Department of

    Education and the United States Department of Education (collectively, the

    Department) filed Defendants’ Memorandum in Opposition to Plaintiff’s Motion



    1 The Court held a status conference on July 21, 2021, at which Plaintiff agreed to forego its
    request for a temporary restraining order and proceed only on its request for preliminary
    injunctive relief. See Minute Entry (Doc. 15).
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    for a Preliminary Injunction (Doc. 20; Response).     Plaintiff Florida Coastal

    School of Law, Inc. (FCSL) filed its reply to the Response on July 30, 2021. See

    Reply to Defendant’s Opposition to Plaintiff’s Motion for a Preliminary

    Injunction (Doc. 25; Reply). On August 4, 2021, the Court held a hearing on

    the Motion at which the parties argued their respective positions. See Minute

    Entry (Doc. 27). Accordingly, the Motion is ripe for review.

       I.     Background

            Through Title IV of the Higher Education Act of 1965 (HEA), 20 U.S.C. §

    1070 et seq., Congress created various student financial assistance programs

    (Title IV, HEA programs) “to assist in making available the benefits of

    postsecondary education to eligible students . . . .” See 20 U.S.C. § 1070. The

    Department administers these programs, id., and is charged with determining

    whether institutions of higher education such as FCSL qualify to participate in

    a Title IV, HEA program in accordance with various statutory requirements.

    20 U.S.C. § 1099c(a). As relevant here, to qualify to participate in a Title IV,

    HEA program an institution must demonstrate to the Department that it is

    financially responsible under the standards set forth in 34 C.F.R. part 668,

    subpart L, and that it is “capable of adequately administering” the Title IV,

    HEA program under the standards set forth in 34 C.F.R. § 668.16. See 34

    C.F.R. § 668.13(a)(1)(i); see also 20 U.S.C. § 1099c(a).          Significantly,

    institutions that participate in a Title IV, HEA program act “in the nature of a




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    fiduciary” in the administration of the program and “must at all times act with

    the competency and integrity necessary to qualify as a fiduciary.”          See 34

    C.F.R. § 668.82(a). To participate in a Title IV, HEA program an institution

    must enter into a program participation agreement (PPA) with the Department.

    The PPA conditions “the initial and continued participation” of the institution

    on its compliance with all applicable statutory and regulatory standards, as

    well as “any additional conditions specified in the program participation

    agreement that the Secretary requires the institution to meet.” See 34 C.F.R.

    § 668.14(a)(1); 20 U.S.C. § 1094(a).

          FCSL is a law school located in Jacksonville, Florida.          See Verified

    Complaint for Declaratory and Injunctive Relief (Doc. 1; Complaint) ¶ 21. It is

    owned by InfiLaw Corporation, whose sole shareholder is InfiLaw Holding, LLC

    (collectively, InfiLaw).   Id. ¶ 31.   Significantly, until 2017, FCSL had two

    sister schools, Arizona Summit Law School (ASLS) and Charlotte School of Law

    (CSL). See Declaration of Michael J. Frola (Doc. 19; Frola Decl.) ¶ 5. CSL

    closed on August 10, 2017, following the loss of its eligibility to receive Title IV

    funds on December 31, 2016. See id. ¶ 8. In 2018, ASLS also closed its doors

    after the American Bar Association (ABA) informed the institution that it

    intended to withdraw its accreditation.       Id. ¶ 10.   These three law schools

    were owned by respective for-profit corporations, all of which were owned by

    InfiLaw. Id. ¶ 5; Complaint ¶ 34. Prior to the events of this lawsuit, InfiLaw




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    was almost entirely owned by a private equity firm called Sterling Capital

    Partners, L.P. (Sterling). See Frola Decl. ¶ 5; see also Complaint ¶ 32.

          In 2016, FCSL applied to renew its PPA with the Department which was

    set to expire on June 20, 2016. See Frola Decl. ¶ 14; Complaint ¶ 86. Because

    FCSL submitted a timely request for recertification, the previous PPA

    continued on a month-to-month basis until the Department issued a decision on

    FCSL’s recertification application. See 34 C.F.R. § 668.13(b)(2); see also Frola

    Decl. ¶ 14. However, “the financial responsibility of the InfiLaw consortium of

    law schools was assessed each year.”             See Frola Decl. ¶ 14.          Indeed,

    institutions participating in Title IV are required to “annually submit audited

    financial statements to the Department to demonstrate they are maintaining

    the standards of financial responsibility necessary to participate in Title IV

    programs.”2

          On June 18, 2019, the Multi-Regional and Foreign School Participation

    Division (MRFSPD) of the Department of Education wrote a letter to FCSL

    informing it that the MRFSPD had completed “its review of the fiscal year

    ended 7/31/2018 audited financial statements of InfiLaw Holdings, LLC and

    Subsidiary (InfiLaw).” See Complaint, Ex. 1 (Doc. 1-1; June 18, 2019 Letter).

    The MRFSPD found that InfiLaw failed to meet the financial responsibility


    2Financial Responsibility Composite Scores, U.S. Dep’t of Educ. Office of Federal Student
    Aid, https://studentaid.gov/data-center/school/composite-scores.




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    standards.   See id.   As a result of this failure, the Department informed

    InfiLaw that it could continue participation in Title IV, HEA programs only if

    it agreed to one of the following alternatives:

          1. Letter of Credit (LOC) Alternative (34 C.F.R. § 668.175(c)):

          Under this alternative, InfiLaw is required to submit an irrevocable
          LOC in the amount of $11,362,511. This amount represents 70% of
          the Title IV, HEA program funds received by InfiLaw during its
          most recently completed fiscal year. By choosing this option,
          InfiLaw qualifies as a financially responsible institution.

          2. Provisional Certification Alternative (34 C.F.R. § 668.175(f)):

          Under this alternative, InfiLaw must post an irrevocable LOC in
          the amount of $5,681,255 and be provisionally certified for a period
          of up to three complete award years. This amount represents 35%
          of the Title IV, HEA program funds received by the Institution
          during its most recently completed fiscal year.

          InfiLaw must comply with all of the requirements specified for the
          Provisional Certification Alternative in 34 C.F.R. § 668.175(f),
          including the Zone Alternative in 34 C.F.R. § 668.175(d)(2) and (3),
          and Requesting Funds 34 C.F.R. § 668.162(d) including the
          disbursement of Title IV, HEA program funds under the
          Heightened Cash Monitoring 1 Method of Payment. By choosing
          this option, InfiLaw acknowledges that it has not met the
          Department’s standards of financial responsibility.

    Id. InfiLaw selected the second alternative titled, “Provisional Certification

    Alternative,” and provided the Department with three letters of credit totaling

    $5,681,255. See Complaint ¶ 49; see also Frola Decl. ¶ 17, Exs. D-G.

          Notably, each letter of credit identifies all three InfiLaw law schools and

    provides security against the obligations of all three schools. See Frola Decl. ¶




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    17, Exs. D-G. This is significant because InfiLaw currently owes substantial

    liabilities to the Department stemming from the closure of CSL and ASLS.

    Specifically, InfiLaw owes the Department $5,061,063 for student loans that

    the Department discharged following the closure of CSL, $3,475,261 of which

    InfiLaw does not contest. See Frola Decl. ¶ 9; see also 34 C.F.R. § 685.214(c)(1).

    The remaining discharges in the amount of $1,585,802 are the subject of an

    ongoing administrative appeal.        See Frola Decl. ¶ 9.        For CSL, the

    Department also assessed an additional $330,743 in automatic closed school

    discharges, see 34 C.F.R. § 685.214(c)(3)(ii), which are also currently subject to

    appeal. Id. With regard to ASLS, InfiLaw owes the Department $130,427 in

    closed school discharges. Id. ¶ 12. Thus, in total, “InfiLaw is responsible for

    $3,605,688 in unchallenged discharges, another $1,585,802 in discharges under

    appeal, and another $330,743 in automatic discharges subject to appeal.” Id.

    ¶ 13. InfiLaw is also facing an additional $167 million in potential liability

    stemming from the pending discharge applications submitted by former

    students who contend they were defrauded by the schools. Id. ¶ 13.

             A. Allowing Eligibility to Expire Based on Sterling’s Refusal to
                Sign the PPA (the Sterling Decision)

          On November 27, 2020, the Department contacted Peter Goplerud,

    President and Dean of FCSL by letter, to inform him that the Department had

    reached a determination on FCSL’s application for recertification.            See




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    Complaint, Ex. 16 (Doc 1-16; Recertification Decision).                    The Department

    decided to grant Provisional Certification to FCSL and attached an agreement

    titled Program Participation Agreement [Provisional Approval] (Doc. 1-6;

    PPPA).       See Recertification Decision.           It further advised FCSL that “[t]he

    reasons for and conditions of [FCSL’s] Provisional Certification” were described

    in the PPPA and that to complete the recertification process, FCSL must sign

    and return the PPPA. See Recertification Decision. The Department set a

    deadline of December 30, 2020, for FCSL to do so. See Motion, Ex. 10 (Doc. 1-

    10; March 26, 2021 Department Letter). Upon full execution of the PPPA,

    FCSL would be certified to participate in Title IV, HEA programs for a term

    ending on September 30, 2023.3 See PPPA.

             One of the conditions set forth in the PPPA was that “[t]he owners of the

    institution agree to be jointly and severally liable for the performance by the

    institution of its obligations under this agreement.”               PPPA at 17.       At that

    time, Sterling owned 98.6% of InfiLaw Holding.                     Thus, the Department

    included Sterling in the list of entities required to execute the guaranty of

    FCSL’s obligations under the PPPA.                      Id.    Goplerud questioned the

    Department “regarding the inclusion of InfiLaw Holding, LLC and Sterling




    3   The PPPA attached to the Complaint as Exhibit 6, is not signed by any of the listed parties.




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    Capital Partners, LP as signators . . .” of the PPPA. See Complaint, Ex. 7, (Doc

    1-7; December 4, 2020 Email). On December 4, 2020, the Department replied,

          [t]his is an updated standard the Department is applying for
          institutions with multiple levels of ownership. The Department is
          now requiring the signature of each entity at 100% ownership or
          with a significant majority ownership percentage.           This
          requirement is also not unique to FCSL.

    Id.   On December 28, 2020, Mr. Goplerud again contacted the Department

    requesting that Sterling be removed as a signer of the PPPA. See Motion, Ex.

    9 (Doc. 1-9; December 28, 2020 Goplerud Letter).        In his letter, Goplerud

    explained that Sterling was “a dormant investment entity” and had “waived all

    voting rights in April, 2020.” Id. Further, he advised that “the entity was

    defunct” and had been attempting to separate from FCSL, however the ABA

    had denied both applications for approval of transition to new ownership. Id.

    Additionally, Goplerud stated

          Sterling has no affiliated persons who are officers of the school or
          any of its holding companies. And, it has no representatives on the
          InfiLaw board of directors or the Florida Coastal board of directors.
          In fact, the Sterling representative formerly on the board resigned
          at the time Sterling waived its voting rights in favor of a
          representative from Campbellsville University.

    Id. Finally, Goplerud wrote that Sterling has been advised by counsel “that

    signing on to the PPPA would exceed the authority its investors (state pension

    funds and other highly respected institutions) granted to it.” Id.




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          The following day, the Department sought additional information and

    documents regarding FCSL’s request to remove Sterling from the PPPA. See

    March 26, 2021 Department Letter. In light of the December 30, 2020 deadline

    for signing and returning the PPPA, the Department advised that it would

    permit FCSL to “remain in a month-to-month temporary [Title IV program

    participation] status.” Id. On January 6, 2021, FCSL submitted a letter from

    Sterling’s Chief Operating Officer and General Counsel, M. Avi Epstein,

    providing additional information in support of rescinding the requirement that

    Sterling execute the PPPA. See id.; Motion, Ex. 8 (Doc. 1-8; January 6, 2021

    Sterling Letter). The letter stated in relevant part:

           Sterling is not involved in the day-to-day activities or strategic
            decision making for FCSL, it is merely a passive investment
            vehicle with no board representation at FCSL or its parent
            companies.

           Sterling is an investment fund that started in 2002 to make
            financial investments in businesses to generate long-term
            capital appreciation for the benefit of its investors.

           Sterling’s fund term was not extended past October 15, 2017 and
            is currently in dissolution to allow for an orderly sale, transfer,
            or disposition of the fund’s investments and ultimately a
            termination of the fund.

           Counsel has advised Sterling against cosigning and
            guaranteeing FCSL’s obligations under the PPPA for a number
            of reasons including its dissolution status and limitations in the
            partnership agreement.




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              Specifically,

                Section 6.2(c) [of the partnership agreement] states, “The
                Partnership may guarantee only the obligations of Portfolio
                Companies (and any direct and indirect subsidiaries thereof),
                and for the purposes of Section 6.2(b), the guarantee of a
                Portfolio Company’s obligations shall be treated as Partnership
                indebtedness.”

                Section 6.2(b) states “The stated maturity of any indebtedness
                for borrowed money incurred by the Partnership shall not
                extend beyond the initial ten year term of the Partnership.” (Ten
                years from October 15, 2002).

    Id.     As support, Sterling provided a copy, actually a partial copy, of its

    partnership agreement.           See id.    Upon review of Sterling’s letter and the

    supporting documentation, on January 15, 2021, the Department affirmed “the

    requirement that the authorized representatives of FCSL’s owners at each level

    sign the PPPA and take joint fiduciary responsibility for administering the

    federal funds received by FCSL, in accordance with 34 C.F.R. § 668.14.”4 See

    March 26, 2021 Department Letter. The same day, FCSL replied that it would


    4   Section 668.14 provides:

             An institution may participate in any Title IV, HEA program, other than the
             LEAP and NEISP programs, only if the institution enters into a written
             program participation agreement with the Secretary, on a form approved by the
             Secretary. A program participation agreement conditions the initial and
             continued participation of an eligible institution in any Title IV, HEA program
             upon compliance with the provisions of this part, the individual program
             regulations, and any additional conditions specified in the program
             participation agreement that the Secretary requires the institution to meet.

    34 C.F.R. § 668.14(a)(1).




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    reach out to Sterling again but “did not expect that Sterling would agree to sign

    the PPPA.” Id. In response, the Department requested a complete copy of

    Sterling’s Limited Partnership Agreement (LPA) which FCSL provided on

    January 19, 2021. Id.     After reviewing the full LPA, the Department still

    concluded that there was no legal prohibition preventing Sterling from signing

    the PPPA. Id. Thus, on March 26, 2021, the Department sent FCSL a letter

    confirming that:

          the approval of the institution’s recertification is contingent upon
          FCSL and all owners listed to sign and return the enclosed PPPA
          to the Department by March 30, 2021. If the PPPA is not signed
          and returned to the Department by March 30, 2021, FCSL’s PPA
          will expire on the last day of this month (March 31, 2021). See 34
          C.F.R. § 668.13(b)(2).

    Id.

          On the afternoon of March 30, 2021, Goplerud emailed the Department

    informing it that FCSL “finalized an opportunity to transition to a not-for-profit

    university in a manner that will immediately remove all common and private

    equity interests.” See Complaint, Ex. 11 (Doc. 1-11; March 30, 2021 Goplerud

    Email). Goplerud attached a signed asset purchase agreement transferring

    FCSL’s assets to Campbellsville University for $1. See id. Goplerud stated

    that the parties had been negotiating for three years but agreed to

    “expeditiously close upon completion of all regulatory and accreditation

    process.”   Id.   Notably, the attached asset purchase agreement included a




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    schedule which “summarized various concerns raised by the [ABA] regarding

    [FCSL’s] compliance with ABA standards of accreditation,” matters of which

    the Department had not previously been informed.         See Frola Decl. ¶ 25;

    Complaint, Ex. 18.

          In the March 30, 2021 Goplerud Email, Goplerud reiterated that its

    “current financial sponsor” did not believe it could sign the PPPA under its LPA

    “without seeking explicit approval from its limited partners (a lengthy process

    that can take up to 90 days and they are not assured of getting the approval).”

    Id. Instead, Goplerud informed the Department that its “financial sponsors”

    would provide an additional financial security of approximately $1 million to

    remain in place until the transaction with Campbellsville University was

    “consummated.” Id. The record before the Court does not disclose whether

    the Department responded to this offer. Sterling did not execute the PPPA,

    and as a result, on March 31, 2021, FCSL’s existing PPA expired. See Frola

    Decl. ¶ 24.

          Five days after the expiration of the PPA, on April 5, 2021, Goplerud

    emailed Michael E. Powers, a case manager with MRFSPD, stating:

          Please find attached a document evidencing Sterling Partners
          action today in relinquishing their shares. We request that the
          EAPP be opened. We will re-sign this afternoon and request that
          our participation be reinstated upon your receipt of the signed
          PPPA.




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    See Complaint, Ex. 13 (Doc. 1-13; April 5, 2021 Emails). The document that

    Goplerud attached was a letter, also dated April 5, 2021, signed by Sterling

    Capital Partners, L.P. and Sterling Capital Partners GMBH & Co. KG, “the sole

    Sterling Members” of InfiLaw. See Complaint, Ex. 12 (Doc. 1-12; Forfeiture

    Letter). In the Forfeiture Letter, the Sterling Members of InfiLaw declared

    that “effective immediately,” they forfeited and surrendered all equity interests

    in InfiLaw Holding, LLC for no consideration. Id. The record does not reveal

    and the Department does not know who currently owns InfiLaw. See Frola

    Decl. ¶ 26. In response to Goplerud’s email, the Department explained that:

             Florida Coastal School of Law’s PPA expired in accordance with 34
             CFR 668.13(b)(2).[5] To re-establish eligibility, FCSL must submit
             an application for reinstatement into the Title IV HEA programs
             under its current ownership structure.

    See April 5, 2021 Emails.




    5   Section 668.13(b)(2) states,

             Provided that an institution has submitted an application for a renewal of
             certification that is materially complete at least 90 days prior to the expiration
             of its current period of participation, the institution's existing certification will
             be extended on a month to month basis following the expiration of the
             institution's period of participation until the end of the month in which the
             Secretary issues a decision on the application for recertification.




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             B. Denial of Application for Reinstatement (the Reinstatement
                Decision)

                      1. May 13, 2021 Denial Letter

         Promptly thereafter, on April 8, 2021, FCSL applied for reinstatement of

    its eligibility to participate in Title IV, HEA programs. See Complaint ¶ 112.

    In a letter dated May 13, 2021, the Department denied FCSL’s application for

    reinstatement.    See Complaint, Ex. 14 (Doc. 1-14; Denial Letter).          The

    Department determined that FCSL was not eligible to participate in the Title

    IV, HEA programs because it failed to satisfy: 1) “the standards of financial

    responsibility set forth in 34 C.F.R. Part 668, Subpart L,” 2) “the standards of

    administrative capability set forth in 34 C.F.R. § 668.16,” and 3) “the fiduciary

    standard of conduct set forth at 34 C.F.R. § 668.82.” Id. at 1. In the Denial

    Letter, the Department explained the reasons supporting its findings as to each

    standard. Id.

                            a. Financial Responsibility

          The general standards of financial responsibility are set forth in 34 C.F.R.

    § 668.171.    Under the general standards, an institution must possess a

    “composite score,” meaning, the average of an institution’s “Equity, Primary

    Reserve, and Net Income ratios” as defined in the regulations, of at least 1.5.

    See 34 C.F.R. § 668.171(b)(1). In addition, an institution must be able to “(1)

    Provide the services described in its official publications and statements; (2)




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    Meet all of its financial obligations; and (3) Provide the administrative

    resources necessary to comply with title IV, HEA program requirements.” See

    id. § 668.171(a).    Significantly, even if an institution meets the general

    standards of financial responsibility, it is not considered financially responsible

    if:

          In the institution’s audited financial statements, the opinion
          expressed by the auditor was an adverse, qualified, or disclaimed
          opinion, or the financial statements contain a disclosure in the
          notes to the financial statements that there is substantial doubt
          about the institution’s ability to continue as a going concern as
          required by accounting standards, unless the Secretary
          determines that a qualified or disclaimed opinion does not have a
          significant bearing on the institution’s financial condition, or that
          the substantial doubt about the institution’s ability to continue as
          going concern has been alleviated.

    See 34 C.F.R. § 668.171(h). If an institution fails to meet the general standards

    of financial responsibility, it “may begin or continue to participate in the title

    IV, HEA programs by qualifying under an alternate standard set forth” in §

    668.175(a).    Generally, these alternatives involve the submission of an

    irrevocable letter of credit, or other form of financial protection, to the

    Department. See generally 34 C.F.R. § 668.175.

          In the Denial Letter, the Department first explained that FCSL did not

    meet the standards of financial responsibility based on its composite score. See

    Denial Letter at 1. For proprietary institutions seeking reinstatement, the

    Department makes the financial responsibility determination based off the




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    audited financial statements submitted for the two most recent fiscal years.

    Id. The Department stated that it reviewed InfiLaw’s financial statements for

    the fiscal years ending July 31, 2020, and July 31, 2019, and found that InfiLaw

    scored a -1.0, “the worst possible score.” Id. at 2. FCSL does not contend that

    this composite score was improperly calculated.6

            The Department also determined that FCSL was not “financially

    responsible” because it did not have the “ability to provide the services described

    in its official publications and statements, and to provide the administrative

    resources necessary to comply with Title IV, HEA program requirements.” Id.

    at 3.       In support of this finding, the Department pointed to the schedule

    accompanying the asset purchase agreement provided to the Department on

    March 30, 2021, which identified numerous areas where FCSL was not in

    compliance with ABA accreditation standards.                  See id.     Specifically, the

    schedule acknowledged that FCSL remained accredited with the ABA, but

    disclosed that during a meeting on August 13-14, 2020, the ABA reviewed its

    findings from a March 1-4, 2020 visit to FCSL and found that “FCSL was not in

    compliance with several standards of accreditation; that it did not have

    sufficient information to make a determination regarding compliance with


            6In the Denial Letter, the Department also found that InfiLaw failed to meet the audit
    opinion and disclosures standard pursuant to 34 C.F.R. § 668.171(h). Id. However, in its
    decision affirming the Denial Letter, the Department subsequently acknowledged that this
    finding was in error. See Complaint, Ex. 15 at 1; see also Response at 15 n.2. As such, the
    Court need not address it here.




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    other certain standards; and that [the ABA] had requested a response from

    FCSL by January 15, 2021.” Id. At its February 18-19, 2021 meeting, the

    ABA reviewed FCSL’s response and found that the school was not in compliance

    with the following standards:

                310 - determining credit hours awarded for coursework
                311 - prohibition on enrollment that exceeds 20% of the total
                      credit hours required for graduation
                402 - sufficient number of full time faculty
                508 - provision of career counseling
                510 - maintenance of student complaints for the appropriate
                      time period
                601 - maintenance of a law library consistent with the
                      Standards
                603 - employment of a full time director of the law library
                604 - sufficiency of the library staffing

    Id.   The ABA requested additional responses from FCSL regarding its

    compliance with these standards, among others, by July 1, 2021. Id.

          The Department explained that it had reviewed the FCSL website where

    FCSL advertises that

          it provides practical training provided by experienced full-time
          faculty, offers a law library that provides students access to an
          expansive collection of information and lawyer-librarians who
          provide students with access to materials necessary to prepare
          them for their legal careers, and maintains a Center for
          Professional Development that provides support for students in all
          stages of the career planning process.

    Id. at 4.     Given the deficiencies identified by the ABA in faculty, library

    services, and career counseling, the Department determined, “FCSL [was] not

    providing the instructional, library, and career services that it advertises,” and




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    also concluded, in light of other ABA findings, that FCSL was “not meeting its

    obligations to correctly determine student eligibility for Title IV, HEA program

    funds.” Id. at 4.

          Based on its review, the Department concluded that FCSL failed to meet

    the standards of financial responsibility set forth in 34 C.F.R. 668 Subpart L.

    Id.   The Department further concluded that because its finding regarding

    financial responsibility was based on “material deficiencies” other than just

    FCSL’s failing composite scores, FCSL could not qualify for participation under

    the letter of credit alternatives, 34 C.F.R. § 668.175. Id. The Department also

    noted that Sterling’s relinquishment of ownership in FCSL “represents a

    material change that has eliminated the financial protections that the

    Department previously determined would be obtained by requiring Sterling to

    sign the FCSL PPA.” Id. The Department explained,

          Sterling’s refusal to take unequivocable responsibility for FCSL’s
          future Title IV compliance, and for any liabilities resulting from
          noncompliance and possible closure, is telling. Sterling is choosing
          to walk away rather than use its resources to support FCSL’s
          continued participation in the Title IV, HEA programs. The fact
          that Sterling is no longer an owner of FCSL represents a material
          change that has eliminated the financial protections that the
          Department previously determined would be obtained by requiring
          Sterling to sign the FCSL PPA.

    Id.




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                             b. Fiduciary Standard of Conduct

          Pursuant to 34 C.F.R. § 668.82(a), (b), an institution “acts in the nature

    of a fiduciary in the administration of the Title IV, HEA programs,” such that

    to participate the institution “must at all times act with the competency and

    integrity required of a fiduciary as required by 34 C.F.R. § 668.82(a), (b).” Id.

    In the Denial Letter, the Department found that FCSL did not meet the

    fiduciary standard of conduct. Id. The Department explained that FCSL had

    been in contact with the Department regarding a number of issues such as its

    potential acquisition by an existing non-profit institution, its failure to meet the

    standards of financial responsibility and subsequent letter of credit, a

    settlement agreement to limit exposure to liabilities connected to the closure of

    InfiLaw’s other institutions, and its application for recertification. Id. The

    Department went on to provide examples of various instances in which it found

    FCSL failed to “act with the competency and integrity necessary to qualify as a

    fiduciary” such as:

           FCSL stating to the Department that it is fully accredited by the
            ABA and not under any sanctions despite the ABA’s findings
            that it was not in compliance with several accreditation
            standards as disclosed to Campbellsville University in the Asset
            Purchase Agreement.
           FCSL’s failure to timely provide documentation of its changes in
            control when Sterling waived certain rights under its operating
            agreement. Specifically, Sterling waived its rights on April 22,
            2020. Two days later FCSL notified the Department of these
            changes but did not comply with the Department’s May 12, 2020
            request for documentation of the changes until June 1, 2020.



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           The Asset Purchase Agreement that FCSL provided to the
            Department on March 30, 2021 referenced other agreements and
            contracts that FCSL failed to provide.           These missing
            attachments potentially contained material information the
            Department would have needed to review. FCSL did not
            provide the “list of contracts to be assumed.” And the inclusion
            of an InfiLaw subsidiary that provided services to FCSL in a
            schedule of “Affiliate Transactions” raised the concern that the
            acquiring university would be required to continue to contract
            with InfiLaw, a material fact that should have been disclosed to
            the Department.

    The Department concluded that

          FCSL’s failure to adhere to the fiduciary standard with regard to
          its provision of information to the Department demonstrates that it
          cannot be relied upon to deal fairly and transparently with regard
          to any eligibility issues, changes, or applications, including
          applications for changes in ownership and control of the institution.

    Id. at 6. As a result, the Department found that it “must therefore deny FCSL’s

    application for reinstatement.” Id.

                            c. Administrative Capability

          Last, the Department determined that FCSL did not meet the standard

    of administrative capability set forth in 34 C.F.R. § 668.16. As relevant here,

    an institution meets the standards of administrative capability if the

    institution: (1) administers the Title IV, HEA programs in accordance with all

    statutory and regulatory provisions, § 668.16(a); (2) utilizes “adequate checks

    and balances in its system of internal controls,” § 668.16(c)(1); and (3) “[d]oes

    not otherwise appear to lack the ability to administer the Title IV, HEA

    programs competently,” § 668.16(n).      The Department reasoned that FCSL



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    failed to meet these standards because it failed to keep the Department

    informed of “reviews and actions taken by the ABA with regard to its accredited

    status,” and changes to its ownership structure that were material to decisions

    under its consideration. For this additional reason, the Department denied

    FCSL’s request for reinstatement.

          The Department concluded its correspondence by advising FCSL that if

    it had factual evidence that disputed the Department’s findings and

    “demonstrate[d] their inaccuracy,” FCSL should overnight mail such evidence.

    Id. If received within 10 days of the date of the letter, the Department would

    review it and notify FCSL of its decision. Id.

                2. Affirmation of Denial

          In a letter dated May 24, 2021, counsel for FCSL submitted “evidence and

    arguments in support of FCSL’s request for reconsideration of the [May 13,

    2021] Decision and approval of FCSL’s application for reinstatement.”           See

    generally Complaint, Ex. 19 (Doc. 1-19; May 24, 2021 Request for

    Reconsideration).7 FCSL argued that the Department incorrectly determined

    that FCSL had failed the financial responsibility, fiduciary duty, and

    administrative capability standards.




    7 Although FCSL included the Request for Reconsideration letter as an exhibit to the
    Complaint, it did not provide any of the documents attached to the letter.




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           In support of its argument that FCSL was financially responsible, FCSL

    characterized the Department’s denial as being based on two primary findings:

           1) The Department’s erroneous assessment of FCSL’s ability to
           continue in operations; and 2) the unwillingness of a former owner
           to execute the FCSL’s Provisional Program Participation
           Agreement (“PPPA”).

    Id. at 1. FCSL argued that the Department erred in considering the losses

    from InfiLaw’s other two institutions that were no longer in operation. Id. at

    2. Specifically, FCSL complained that the Department did not properly adjust

    the losses referenced in the Denial Letter to exclude discontinued operations

    pursuant to 34 C.F.R. Part 668, Subpt. L. App. A. Id. FCSL also insisted that

    the Department should have viewed FCSL’s financial situation in isolation.8

    Id.

           FCSL further emphasized that FCSL’s financial condition was improving

    and its “current financial condition is the one that matters for the purposes of

    determining the institution’s financial capabilities and the associated risk.”

    Id. at 5. Moreover, FCSL argued that the Department was still the beneficiary

    of letters of credit totaling $5,681,255 which amounted to approximately 78% of

    FCSL’s Title IV revenue in FYE 2020. Id. FCSL insisted this “far exceeds the

    50% threshold required by letter of credit alternative in 34 C.F.R. § 668.175(c).”



           8 In addition, FCSL maintained that the Department’s reliance on 34 C.F.R. §
    668.171(h) to find that FCSL failed to meet the audit and disclosure standards was improper.
    Id. As noted above, the Department has acknowledged this error.




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    Id. FCSL also maintained that the Department should not consider Sterling’s

    “inability” to sign the PPPA as an indicator of its financial responsibility. Id.

    Despite having acknowledged that it could have sought approval from its

    partners to sign the PPPA, FCSL still contended that the Department ignored

    counsel for Sterling’s opinion that Sterling was precluded from signing under

    its partnership agreement. It further asserted that the Department should

    consider the amount of personal resources management for FCSL had put on

    the line by assuming control when Sterling relinquished the entirety of its

    98.6% ownership interest. See id.

          As to the fiduciary standard of conduct, FCSL argued that it was not

    under any obligation to disclose the ABA’s findings that FCSL was not meeting

    certain accreditation standards. See id. at 6. FCSL maintained that under

    34 C.F.R. § 668.171(f), an accreditation agency is only required to disclose

    orders “such as a show cause order or similar action, that, if not satisfied, could

    result in the withdrawal, revocation or suspension of institutional accreditation

    for failing to meet one or more of the agency’s standards.” Id. (citing 34 C.F.R.

    § 668.171(f)).   Because, according to FCSL, the ABA findings cited by the

    Department in the Denial Letter were merely “routine,” the Department could

    not use its failure to disclose them as a basis for finding that FCSL breached

    the fiduciary standard of conduct.        Id. at 6-7.   FCSL also rejected the

    Department’s reliance on FCSL’s failure to timely provide documentation of




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    Sterling’s waiver of rights in April 2020 as a breach of fiduciary duty. Id. at 7.

    Pursuant to 34 C.F.R. § 600.21(a), the Department required notice within 10

    days and FCSL provided such notice within two, even if it was slow to provide

    requested documentation. Id. Last, FCSL disputed that its failure to provide

    the list of contracts to be assumed as part of the asset purchase agreement

    between Campbellsville and InfiLaw constituted withholding material

    information. Id. at 7-8.

          Finally, as to the Department’s finding that FCSL lacked administrative

    capability, FCSL again questioned the Department’s reliance on the ABA’s

    findings. Id. at 8-9. FCSL argued that it was in communication with the ABA

    regarding any purported violations and responding to any requests accordingly.

    Id. at 9. After explaining the factual circumstances that surrounded the ABA’s

    findings, FCSL contended, “[f]or good reason, the findings do not approach the

    level of severity the Department portrays in the [Denial Letter], nor do they

    form a basis for the Department to conclude that FCSL lacks administrative

    capability.” Id.

          On July 16, 2021, the Department wrote a 15-page letter to FCSL

    affirming the May 13, 2021 initial denial of FCLS’s application for

    reinstatement. See Complaint, Ex. 15 (Doc. 1-15; July 16, 2021 Affirmation of

    Denial).   As noted above, the Department conceded that in reviewing the

    audited financial statements it “mistakenly interpreted the detailed discussion




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    of the financial weaknesses of [InfiLaw]” to amount to “a going concern”

    disclosure pursuant to 34 C.F.R. § 600.21(a).    Id. at 1. However, because this

    error did not impact the Department’s concerns regarding InfiLaw’s ultimate

    financial condition or its course of dealing with the Department, the denial of

    the application for reinstatement was due to be upheld.        Id. at 1-2.   The

    Department devoted the remainder of the correspondence to a detailed

    discussion of the reasons it denied FCSL’s application. See id. at 2.

          First, the Department re-explained that FCSL did not meet the general

    standards of financial responsibility because it had a failing composite score

    pursuant to 34 C.F.R. § 668.171(b)(1). Id. Further, while Sterling’s refusal to

    sign the PPPA raised doubts about FCSL’s financial stability, the reasons

    Sterling refused to sign did not change the fact that its “subsequent

    relinquishment of its ownership was a material change that further supported

    the decision to deny reinstatement under FCSL’s current ownership.”          Id.

    Sterling’s refusal to sign was “not a basis upon which the Department

    determined that FCSL did not meet the general standards of financial

    responsibility at 34 C.F.R. § 668.171(b).” Id.

          Additionally, “[t]he Department rejected [FCSL’s] effort to minimize the

    significance of the ABA findings by portraying them as part of a routine review

    process.”   Id.   In support, the Department detailed the ABA’s recent

    conclusions from a February 26, 2021 letter finding that FCSL was not in




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    compliance with numerous ABA standards. See id. at 3-4. The Department

    also cited to the ABA’s August 20, 2020 findings of fact.      The Department

    concluded that the ABA’s findings “show the effects of FCSL’s dire financial

    condition on its educational programs and administration.” Id. at 6.

          The Department also expanded on its finding that FCSL “failed to meet

    the fiduciary standard of conduct with regard to its provision of information to

    the Department.” Id. The Department stated that in various dealings with

    FCSL over the last several years FCSL demonstrated that it could not be relied

    upon to deal fairly and transparently. Id. These dealings included FCSL’s

          aspirations to convert from a proprietary institution to a private
          non-profit institution and/or be acquired by an existing private non-
          profit institution; its failure to meet the standards of financial
          responsibility and consequent requirement that it provide a letter
          of credit; its desire to enter into a settlement agreement with the
          Department to, among other things, limit FCSL’s exposure to
          liabilities associated with InfiLaw’s prior operations of the
          Charlotte School of Law (CSL) and Arizona Summit Law School
          (ASLS); and its application for recertification.

    Id.   Over the course of the next eight pages, the Department provided a

    discussion of FCSL’s actions during these dealings which led the Department

    to conclude that FCSL failed to disclose relevant material information or was

    otherwise misleading in violation of the fiduciary standard of conduct. See

    generally id. at 6-14. Specifically, the Department pointed to communications

    from FCSL in January and March of 2021 in which FCSL stated, “[w]e are in

    full compliance with the ABA standards . . .” and insisted FCSL was “a school




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    in compliance with ABA requirements . . . .”      Id. at 14.   According to the

    Department, “FCSL’s assertion on March 26, 2021 that it was in compliance

    with the ABA’s standards, when the ABA had noted multiple significant

    deficiencies, was a statement that had the likelihood or tendency to mislead the

    Department in its review of the pending recertification and proposed

    transactions.” Id. at 14. Given that FCSL intended for the Department to

    rely on this statement in deciding whether to allow FCSL’s PPA to continue,

    the   Department     found    the   statement    constituted    “a   substantial

    misrepresentation as defined in 34 C.F.R. § 668.71.” Id. at 14.

          With regard to its finding that FCSL lacked administrative capability,

    the Department explained that this finding was based on “FCSL’s failure to

    inform the Department of the ABA’s reviews and actions and of significant

    events regarding its ownership structure, even though they were material to

    decisions pending before the Department.” Id. at 15. The Department stated

    that it

          did not rely on the descriptions in Schedule 2.22(a) of the March 30,
          2021 APA to determine that FCSL lacked administrative
          capability, and FCSL’s claim in its Response in this regard are
          specious and will not be addressed.

    Id. at 15. In sum, the Department advised that the information submitted and

    arguments made in the May 24, 2021 Request for Reconsideration did not




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    change its decision to deny reinstatement. Id. Accordingly, as of July 16,

    2021, the denial constituted a final agency decision. Id.

          At present, FCSL represents that it remains “fully approved by the ABA,”

    as it has been “continuously since 2002.” See Complaint ¶ 127. In addition,

    FCSL states that it has “continued to offer tuition-free courses for its summer

    students to protect them while the school challenges the Department’s actions.”

    See id. ¶ 321. Nevertheless, “[a]bsent relief, FCSL will be forced to close prior

    to commencing the fall term which would start August 23, 2021.” Id. ¶ 323.

    According to FCSL, its “currently enrolled students are in limbo and will soon

    be forced to withdraw, attend other schools as transient students or seek to

    transfer to other schools.” Id. ¶ 324. FCSL believes that if the Court restores

    its Title IV eligibility, “it can retain 90 of its currently active students,” and

    “could yield a fall class of 70 first year students.” Id. ¶¶ 326, 330. FCSL also

    asserts that an injunction will permit it to stay in business long enough to

    consummate the sale of the school to “a 100-year-old nonprofit institution with

    more than $147 million in assets . . . .” Id. ¶¶ 333-35. In the Reply, FCSL

    references yet another “Financial Partner” who is willing to “provide for the

    continued operations of the school so long as it is restored to Title IV.” See

    Reply at 11, Ex. 3: Declaration of Peter Goplerud ¶ 5. FCSL maintains that

    the capital infusion from this “Financial Partner” will allow it to ‘comfortably

    meet all financial obligations . . . .” Id. at 12; Goplerud Decl. ¶ 13.




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          Significantly, the Executive Committee of the ABA Counsel of the Section

    of Legal Education and Admissions to the Bar issued a notice in June 2021

    stating that it had approved a revised “Teach-Out Plan” submitted by FCSL.

    See Response at 17 (citing https://fcsl.edu/wp-content/uploads/2021/06/June-

    2021-Teach-Out-ABA.pdf (the ABA Notice). The ABA Notice states that:

          The Law School’s accreditation will continue until July 1, 2023, for
          the limited purpose of allowing the Law School to receive credits
          from currently enrolled students earned as transient students at
          other ABA-approved law schools and to issue the Law School’s J.D.
          degree to such students who meet the Law School’s graduation
          requirements. The Law School shall not admit any students. The
          Law School will not offer any credit-bearing courses beyond the
          summer 2021 term.

    See ABA Notice (emphasis added). FCSL maintains that the ABA issued these

    restrictions “solely because of the Department’s termination of FCSL’s Title IV

    eligibility,” such that if FCSL’s Title IV funding is restored, “the ABA would

    have no basis to continue these restrictions” and “FCSL would immediately

    begin enrolling students.” See Reply at 12-13, Ex. 2. Nevertheless, even if

    restored to Title IV eligibility, it remains unclear whether FCSL could simply

    disregard the terms of the Teach-Out Plan and begin enrolling students for the

    fall semester.

             C. Lawsuit

          On July 20, 2021, FCSL initiated the instant proceedings by filing its

    Verified Complaint for Declaratory and Injunctive Relief. In the Complaint,




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    FCSL asserts a claim under the Administrative Procedures Act (APA), 5 U.S.C.

    § 706, challenging the Sterling Decision—the Department’s March 26, 2021

    decision requiring Sterling to sign the PPPA, as well as the Reinstatement

    Decision—the Department’s May 13, 2021 initial denial of reinstatement and

    subsequent affirmance on July 16, 2021. See Complaint at 53-57.

          With regard to the Sterling signature requirement, FCSL contends that

    the Sterling Decision is contrary to law, arbitrary and capricious, and in excess

    of the Department’s statutory authority.       See Complaint ¶¶ 340-41.       In

    support, FCSL argues that (1) the Department failed to adequately explain why

    Sterling’s signature should be required as a condition of the PPPA; (2) the

    Department was precluded by statute and regulation from requiring Sterling’s

    signature; and (3) the Department’s requirement of Sterling’s signature was

    contrary to the evidence. See Motion at 20-25.

          As to the Reinstatement Decision, FCSL argues that it is also contrary to

    law, arbitrary and capricious, and in excess of the Department’s statutory

    authority. Id. ¶¶ 343-44. In addition, FCSL contends that the Reinstatement

    Decision is contrary to its constitutional right to due process.      Id. ¶ 345.

    Specifically, FCSL asserts: (1) the Department incorrectly interpreted FCSL’s

    audited financial statements; (2) the Department erroneously relied on the

    ABA’s “routine accreditation findings” to conclude that FCSL could not provide

    the services described in its official publications and statements; (3) FCSL did




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    not breach its fiduciary duty to the Department; and (4) FCSL was in fact

    financially responsible under the letter of credit alternative. See Motion at 25-

    44.

             In the instant Motion, FCSL asserts that it is substantially likely to

    succeed on these claims.       In addition, FCSL maintains that it will face

    irreparable harm absent a preliminary injunction because it “cannot survive

    without Title IV funding.” See Motion at 45. As such, FCSL asks the Court

    to vacate the Sterling Decision and “order the Department to restore FCSL’s

    access to Title IV, pursuant to its original PPA.” See id. at 49. Alternatively,

    FCSL requests an order vacating the Reinstatement Decision and “restor[ing]

    FCSL’s Title IV eligibility pending a decision on the merits.” Id.

       II.     Legal Standard

             A preliminary injunction is an extraordinary and drastic remedy. See

    McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998); see also

    Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (“A preliminary

    injunction is an extraordinary remedy never awarded as of right.”); Davidoff &

    CIE, S.A. v. PLD Int’l Corp., 263 F.3d 1297, 1300 (11th Cir. 2001). Indeed, “[a]

    preliminary injunction is a powerful exercise of judicial authority in advance of

    trial.” Ne. Fla. Chapter of Ass’n of Gen. Contractors of Am. v. City of

    Jacksonville, 896 F.2d 1283, 1284 (11th Cir. 1990).




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          “A plaintiff seeking a preliminary injunction must establish [1] that he is

    likely to succeed on the merits, [2] that he is likely to suffer irreparable harm

    in the absence of preliminary relief, [3] that the balance of equities tips in his

    favor, and [4] that an injunction is in the public interest.” Winter, 555 U.S. at

    20. The Eleventh Circuit recently described the heavy burden on a party

    seeking preliminary injunctive relief as follows:

          A district court may grant a preliminary injunction only if the
          moving party establishes that: (1) [he] has a substantial likelihood
          of success on the merits; (2) [he] will suffer an irreparable injury
          unless the injunction is granted; (3) the harm from the threatened
          injury outweighs the harm the injunction would cause the
          opposing party; and (4) the injunction would not be adverse to the
          public interest.

    Gonzalez v. Governor of Georgia, 978 F.3d 1266, 1270-71 (11th Cir. 2020); see

    also Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc). However,

    the court also instructed that “the third and fourth factors merge when, as here,

    the Government is the opposing party.” Id. at 1271 (internal quotations and

    citation omitted).

          The movant, at all times, bears the burden of persuasion as to each of

    these requirements. See Ne. Fla., 896 F.2d at 1285. In deciding whether a party

    has met its burden, “[a] district court may rely on affidavits and hearsay

    materials which would not be admissible evidence for a permanent injunction,

    if the evidence is appropriate given the character and objectives of the

    injunctive proceeding.” Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d




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    982, 985 (11th Cir. 1995) (internal quotations and citation omitted); see also

    Cumulus Media, Inc. v. Clear Channel Commc'ns, Inc., 304 F.3d 1167, 1171

    (11th Cir. 2002) (“Preliminary injunctions are, by their nature, products of an

    expedited process often based upon an underdeveloped and incomplete

    evidentiary record.”). Notably, a party’s failure to establish any one of the

    essential elements will warrant denial of the request for preliminary injunctive

    relief and obviate the need to discuss the remaining elements. See Pittman v.

    Cole, 267 F.3d 1269, 1292 (11th Cir. 2001) (citing Church v. City of Huntsville,

    30 F.3d 1332, 1342 (11th Cir. 1994)); Del Monte Fresh Produce Co. v. Dole Food

    Co., 148 F. Supp. 2d 1326, 1339 n.7 (S.D. Fla. 2001).

          A typical preliminary injunction is prohibitive in nature and seeks simply

    to maintain the status quo pending a resolution of the merits of the

    case. See Mercedes–Benz U.S. Int'l, Inc. v. Cobasys, LLC, 605 F. Supp. 2d

    1189, 1196 (N.D. Ala. 2009). When a preliminary injunction is sought to force

    another party to act, rather than simply to maintain the status quo, it becomes

    a “mandatory or affirmative injunction” and the burden on the moving party

    increases. Exhibitors Poster Exch. v. Nat'l Screen Serv. Corp., 441 F.2d 560,

    561 (5th Cir. 1971). A mandatory injunction “‘should not be granted except in

    rare instances in which the facts and law are clearly in favor of the moving

    party.’” Id. (quoting Miami Beach Fed. Sav. & Loan Ass'n v. Callander, 256

    F.2d 410, 415 (5th Cir. 1958)); see also Martinez v. Mathews, 544 F.2d 1233,




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    1243 (5th Cir. 1976)9 (“Mandatory preliminary relief, which goes well beyond

    simply maintaining the status quo pendente lite, is particularly disfavored, and

    should not be issued unless the facts and law clearly favor the moving party.”).

    Accordingly, a plaintiff seeking such relief bears a heightened burden of

    demonstrating entitlement to preliminary injunctive relief.                    See Verizon

    Wireless Pers. Commc'n LP v. City of Jacksonville, Fla., 670 F. Supp. 2d 1330,

    1346 (M.D. Fla. 2009) (“Where a mandatory injunction is sought, ‘courts apply

    a heightened standard of review; plaintiff must make a clear showing of

    entitlement to the relief sought or demonstrate that extreme or serious damage

    would result absent the relief.’”) (quoting New York SMSA Ltd. Partnership v.

    Town of Clarkstown, 99 F.Supp.2d 381, 389 (S.D. N.Y. 2000)); Mercedes–

    Benz, 605 F. Supp. 2d at 1196; OM Group, Inc. v. Mooney, No. 2:05–cv–546–

    FTM–33SPC, 2006 WL 68791, at *8–9 (M.D. Fla. Jan. 11, 2006).




    9 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), the Eleventh
    Circuit adopted as binding precedent all the decisions of the former Fifth Circuit handed down
    prior to the close of business on September 30, 1981.




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         III.   Applicable Law

            FCSL contends that the record before the Court shows that it has a

    substantial likelihood of success on the merits of its claim that the Department’s

    Sterling Decision and Reinstatement Decision violated the APA. See Motion

    at 20-44.10 The APA “sets forth the full extent of judicial authority to review

    executive agency action for procedural correctness.” F.C.C. v. Fox Television

    Stations, Inc., 556 U.S. 502, 513 (2009). Under the APA, a reviewing court must

    “hold unlawful and set aside agency action, findings, and conclusions found to

    be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

    accordance with law.” 5 U.S.C. § 706(2)(A). Likewise, a court “may set aside

    a final agency decision if it is . . . ‘in excess of statutory jurisdiction, authority,

    or limitations, or short of statutory right.’” See High Point, LLLP v. Nat’l Park

    Serv., 850 F.3d 1185, 1193 (11th Cir. 2017) (quoting 5 U.S.C. § 706(2)(C)). The

    APA also provides that a court shall set aside an agency decision that is

    “contrary to constitutional right . . . .” See 5 U.S.C. § 706(2)(B).

            Notably, “[t]he arbitrary and capricious standard is exceedingly

    deferential.” Defenders of Wildlife v. U.S. Dep’t of Navy, 733 F.3d 1106, 1115

    (11th Cir. 2013) (internal quotation marks omitted). A reviewing court’s role is



    10Section 706(1) of the APA permits a reviewing court to “compel agency action unlawfully
    withheld or unreasonably delayed . . . .” However, FCSL does not rely on this provision to
    support the relief it seeks in this action and as such, the Court will not consider whether FCSL
    can prevail on a claim to compel agency action under § 706(1).




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    to “ensure that the agency came to a rational conclusion, not to conduct its own

    investigation and substitute its own judgment for the administrative agency’s

    decision.” Id. (internal quotation marks omitted). “In determining whether the

    agency acted arbitrarily and capriciously, [a court asks] whether the agency

    examined the relevant data and articulated a satisfactory explanation for its

    action.” Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 781 F.3d

    1271, 1288 (11th Cir. 2015) (internal quotation marks omitted). An agency’s

    action may be arbitrary and capricious:

          where the agency has relied on factors which Congress has not
          intended it to consider, entirely failed to consider an important
          aspect of the problem, offered an explanation for its decision that
          runs counter to the evidence before the agency, or is so implausible
          that it could not be ascribed to a difference in view or the product
          of agency expertise.

    Defenders of Wildlife, 733 F.3d at 1115. A court “should ‘uphold a decision of

    less than ideal clarity if the agency’s path may reasonably be discerned.’” Black

    Warrior Riverkeeper, 781 F.3d at 1288. When reviewing the evidentiary basis

    for an agency’s action, a court must uphold the agency’s decision “unless the

    evidence not only supports a contrary conclusion, but compels it.” Abdille v.

    Ashcroft, 242 F.3d 477, 483–84 (3d Cir. 2001); see also I.N.S. v. Elias-Zacarias,

    502 U.S. 478, 481 & n.1 (1992) (explaining that an agency’s determination can

    be reversed as unsupported by substantial evidence only if a reasonable

    factfinder would have to reach a contrary conclusion).




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       IV.     Discussion

            A. The Sterling Decision

            In the Motion, FCSL asks the Court to vacate the Department’s Sterling

    Decision and restore its now expired PPA. FCSL maintains that this merely

    requires a return to the status quo existing prior to the Department’s allegedly

    improper Sterling Decision. See Reply at 2-3. As such, FCSL maintains that

    it seeks a prohibitive rather than a mandatory injunction.        See id.   This

    characterization of the requested relief may have had merit had FCSL brought

    its challenge to the Sterling Decision before the March 31, 2021 expiration of

    the PPA, or promptly after that occurred. However, by waiting over three and

    a half months after the expiration of the prior PPA to raise this challenge, FCSL

    has hopelessly frustrated the Court’s ability to restore the previously existing

    status quo or otherwise provide meaningful relief.

            Significantly, FCSL knew of the Department’s decision to require Sterling

    to sign the PPPA since November 27, 2020.            See Complaint, Exs. 6, 16.

    Indeed, the original deadline for submitting the signed PPPA was December 30,

    2020.      In communications throughout December and January, FCSL

    attempted to convince the Department to eliminate this requirement, arguing

    that Sterling was unable to sign the PPPA based on the terms of its LPA.

    Nevertheless, as early as January 2021, the Department informed FCSL that,

    despite the terms of the LPA, it would require that Sterling assume joint




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    liability. FCSL continued to push back against this requirement, but in a final

    decision dated March 26, 2021, the Department informed FCSL that it had

    “completed its review of the material submitted and has found no legal

    prohibition for Sterling to sign FCSL’s PPPA.”              Id., Ex. 10. As such, the

    Department affirmed the Sterling Decision requiring that Sterling sign the

    PPPA and take “joint fiduciary responsibility for administering the federal

    funds received by FCSL . . . .” Id. The Department explained that unless

    FCSL and its owners returned a fully executed PPPA on March 30, 2021, its

    current PPA would expire on March 31, 2021. Id. In receipt of a final agency

    decision regarding the Sterling signature requirement, and facing the imminent

    expiration of its PPA, FCSL nevertheless failed to promptly file suit and seek

    injunctive relief preventing the expiration of the PPA, or seeking its immediate

    temporary reinstatement, so as to maintain the status quo until the merits of

    its challenge to the Sterling Decision could be addressed in court.

           Instead, FCSL elected to pursue only the Department’s reinstatement

    process. 11   Doing so, FCSL waited over three and a half months after the

    expiration of its prior PPA to bring this lawsuit challenging the Sterling

    Decision.     As a result of this delay, the “status quo” existing prior to the


    11 While FCSL contends it took this path in accordance with the Department’s instruction, it
    fails to explain why, if the expiration of its PPA presented a risk of imminent irreparable
    harm, it could not and did not simultaneously pursue both a preliminary injunction to
    maintain the status quo and its request for reinstatement.




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    expiration of the PPA has changed in significant ways. Notably, Sterling is no

    longer an owner of InfiLaw and the Department represents that it does not

    know who the current owner or owners are.12 In addition, as detailed in the

    Affirmation of Denial, the Department has learned new information regarding

    FCSL which, in the Department’s view, renders FCSL ineligible to participate

    in the Title IV, HEA programs for reasons separate and apart from Sterling’s

    refusal to sign the PPPA. Moreover, because FCSL failed to raise a timely

    legal challenge seeking to enjoin or set aside the Sterling Decision, its Title IV,

    HEA certification lapsed when the deadline to sign passed. As a direct result

    of that lapse, the ABA required FCSL to submit, and the ABA has approved,

    the Teach-Out Plan for the winding down and closure of the school, and the

    ABA has prohibited FCSL from enrolling new students or offering credit

    bearing classes after the summer 2021 term.13 This dire consequence of losing


    12 Sterling relinquished its ownership interest in InfiLaw immediately after the PPA expired.
    FCSL maintains that by doing so, Sterling “resolved” the only issue preventing FCSL’s
    recertification such that the Department should have then accepted the PPPA. However, this
    argument ignores the stated purpose of the Sterling Decision. The Department required
    Sterling to sign the PPPA and assume joint liability to provide the Department with additional
    recourse against any future liabilities. See Denial Letter at 4. Thus, rather than resolve the
    issue as FCSL contends, Sterling’s decision to relinquish its ownership only further deprived
    the Department of the financial protection it was seeking.
    13
       FCSL asserts that “the ABA would have no basis to continue” the restrictions imposed
    pursuant to the Teach-Out Plan if Title IV funding is restored. See Reply at 12-13.
    However, FCSL does not disclose the terms of the Teach-Out Plan or otherwise explain
    whether that plan allows FCSL to immediately resume operations if restored to Title IV
    eligibility. Moreover, despite relying on certain ABA Rules of Procedure in its Request for
    Reconsideration, FCSL has not identified any ABA Rule that would require the ABA to
    immediately rescind its restrictions if FCSL’s Title IV eligibility were restored. FCSL also
    fails to point to any rule, affidavit, regulation, or other evidence suggesting that PPA




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    Title IV, HEA program eligibility was not unknown to FCSL or unexpected.

    See Affirmation of Denial at 14 (quoting FCSL’s email noting that termination

    of Title IV, HEA program eligibility would effectively close the school, displacing

    students, faculty, and staff). Yet, FCSL neither acted to forestall it nor acted

    promptly to unwind it. Could the Court enjoin the Department from enforcing

    the Sterling Decision if FCSL showed it was entitled to such relief? Perhaps.

    But would such an injunction return the parties to the status quo ante? No.

    Whatever powers a federal court may have, they do not extend to time travel.

    No action by this Court can undo the events that have unfolded in the last

    several months to return the relationships between FCSL, the Department, the

    ABA, and the Students and Faculty of FCSL to the state in which they stood

    before the Sterling Decision. Thus, even if FCSL could show that the Sterling

    Decision was arbitrary and capricious, given the Department’s May 13, 2021

    and July 16, 2021 conclusions regarding FCSL’s Title IV, HEA program

    eligibility and the significant changes in circumstances, injunctive relief at this




    reinstatement would automatically relieve it of the Teach-Out Plan, permit it to enroll
    students and offer classes, or restore its prior accreditation status. Notably, FCSL’s response
    to the ABA’s February 2021 findings that it was not in compliance with several accreditation
    standards was due on July 1, 2021. See Complaint, Ex. 18. The record does not reflect
    whether FCSL provided the requested response or the status of the ABA’s investigation into
    those matters.




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    time could not actually restore the parties to the status quo existing in March

    2021.14

           For these same reasons, even aside from the merits of FCSL’s challenge

    to the Sterling Decision, the Court would not be inclined to exercise its

    discretion to grant the preliminary injunctive relief FCSL seeks. See Gonzalez

    v. Kemp, 470 F. Supp. 3d 1343, 1346 (11th Cir. 2020) (“The decision whether to

    grant preliminary injunctive relief is within the broad discretion of the district

    court.”); Rahal Letterman Racing, LLC v. Scott Sharp Sports, LLC, 2008 WL

    11407196, at *4 (S.D. Fla. Feb. 12, 2008) (“Even if the moving party succeeds at

    meeting its burden as to the four prerequisites, however, it is at the discretion

    of the district court whether to grant or deny a preliminary injunction.”).

    Regardless, FCSL’s request for a preliminary injunction vacating the Sterling

    Decision is due to be denied because FCSL has failed to demonstrate a

    substantial likelihood of success on the merits. See Am. C.L. Union of Fla.,

    Inc., 557 F.3d at 1198.




    14 For the reasons set forth next, the Court finds that FCSL has not met its burden of
    demonstrating a substantial likelihood of success in its challenge to the Reinstatement
    Decision. As such, even if the Court were to find the Sterling Decision to be unlawful, it is
    unclear how vacating the Sterling Decision alone and directing the Department to reconsider
    FCSL’s recertification application would change the outcome for FCSL. The Department has
    already reconsidered FCSL’s request for eligibility through the Reinstatement Decision, and
    it denied the request and affirmed that denial.




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                   1.    Statutory and Regulatory Authority

           FCSL contends that under 20 U.S.C. § 1099c(e) and 34 C.F.R. §

    668.175(f)(3)(ii)15 the Department “can only require an institution’s ownership

    to assume personal liability at the end of a provisional period and, even then,

    only when it articulates a reasonable basis that it is necessary to protect the

    financial interests of the United States.” See Motion at 5. FCSL maintains

    that the Department improperly imposed the requirement that Sterling assume

    joint and several liability at the beginning of a provisional period. Id. at 20-22.

    FCSL also contends that the Department failed to articulate why Sterling’s

    assumption of liability was necessary to protect the United States’ financial

    interest. As such, FCSL argues that the Department’s Sterling Decision was

    contrary to law or in excess of its statutory authority.                In Response, the

    Department identifies 34 C.F.R. § 668.14 as the basis for its authority to require

    Sterling to assume joint liability as a condition of the PPPA, such that it had no

    need to find that such a requirement was “necessary,” merely that it was

    prudent. See Response at 27-28; see also March 26, 2021 Department Letter.

           Pursuant to section 668.14(a)(1):

           An institution may participate in any Title IV, HEA program, other
           than the LEAP and NEISP programs, only if the institution enters
           into a written program participation agreement with the Secretary,
           on a form approved by the Secretary. A program participation

    15FCSL cites to section 668.175(f)(3)(B), however, no such subsection exists, and the Court
    concludes that FCSL meant to cite section 668.175(f)(3)(ii).




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          agreement conditions the initial and continued participation of an
          eligible institution in any Title IV, HEA program upon compliance
          with the provisions of this part, the individual program regulations,
          and any additional conditions specified in the program
          participation agreement that the Secretary requires the institution
          to meet.

    34 C.F.R. § 668.14(a)(1) (emphasis added). This provision appears to grant the

    Department broad discretion to impose whatever additional terms it deems

    appropriate under the circumstances.           As such, absent a statutory or

    regulatory provision limiting the Department’s ability to require Sterling to

    assume joint liability, the Department appears to have had the authority to

    impose such a requirement so long as its decision to do so was not arbitrary and

    capricious. As stated above, FCSL asserts that 20 U.S.C. § 1099c(e) and 34

    C.F.R. § 668.175 limit the Department’s discretion to impose this requirement.

    However, upon careful review of both provisions, the Court is unconvinced.

          Section 1099c(e) states in relevant part:

          (e) Financial guarantees from owners

                (1) Notwithstanding any other provision of law, the Secretary
          may, to the extent necessary to protect the financial interest of the
          United States, require--

                      (A) financial guarantees from an institution
                participating, or seeking to participate, in a program under
                this subchapter, or from one or more individuals who the
                Secretary determines, in accordance with paragraph (2),
                exercise substantial control over such institution, or both, in
                an amount determined by the Secretary to be sufficient to
                satisfy the institution's potential liability to the Federal




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                Government, student assistance recipients, and other
                program participants for funds under this subchapter; and

                       (B) the assumption of personal liability, by one or more
                individuals who exercise substantial control over such
                institution, as determined by the Secretary in accordance
                with paragraph (2), for financial losses to the Federal
                Government, student assistance recipients, and other
                program participants for funds under this subchapter, and
                civil and criminal monetary penalties authorized under this
                subchapter.

    See 20 U.S.C. § 1099c(e) (emphasis added). FCSL interprets this provision to

    mean that the Department could not require Sterling, the entity that owned

    98.6% of InfiLaw, to assume joint liability unless the Department made a

    finding that it was “necessary to protect the financial interest of the United

    States.” But, as the Department argues, by its plain language, this provision

    does not appear to apply to an entity such as Sterling. Rather, the statute

    refers to “the assumption of personal liability, by one or more individuals who

    exercise substantial control over such institution . . . .”    See 20 U.S.C. §

    1099c(e)(1)(B) (emphasis added). The statute expressly distinguishes between

    entities that exercise substantial control, and individuals who have such

    control, when defining those terms.        See 20 U.S.C. § 1099c(e)(2)(A)-(B).

    Notably, the statutory provision governing program participation agreements,

    20 U.S.C. § 1094, references these definitions, and again, refers to entities and

    individuals separately. See 20 U.S.C. § 1094(c)(2). (“If an individual who, or

    entity that, exercises substantial control, as determined by the Secretary in




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    accordance with the definition of substantial control in subpart 3 of Part H . . .

    .” (emphasis added)).     Thus, a plain reading of the statute supports the

    Department’s position that while the Department’s discretion to require the

    assumption of personal liability from an individual is limited to those

    circumstances where it is necessary to protect the financial interest of the

    United States, no such limitation exists regarding a requirement for the

    assumption of liability by an entity such as Sterling.

          Alternatively, FCSL relies on 34 C.F.R. § 668.175(f)(3)(ii) to argue that

    the Department lacked the legal authority to requiring Sterling’s signature on

    the PPPA. In pertinent part, this regulation provides:

          (f) Provisional certification alternative.

                (3) If at the end of the period for which the Secretary
                provisionally certified the institution, the institution is still
                not financially responsible, the Secretary may again permit
                the institution to participate under a provisional certification
                but the Secretary . . .

                      (ii) [m]ay require one or more of the persons or entities
                      that exercise substantial control over the institution, as
                      determined under § 668.174(b)(1) and (c), to be jointly
                      or severally liable for any liabilities that may arise from
                      the institution's participation in the title IV, HEA
                      programs.

    Based on this provision, FCSL argues that “the Department may only require

    an owner to assume personal liability if ‘at the end of the period [f]or which the

    [Department] provisionally certified the institution, the institution is still not




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    financially responsible.’” See Motion at 21-22 (emphasis added) (quoting 34

    C.F.R. § 668.175(f)(3)(ii)). Because FCSL contends that it was not at the “end”

    of a provisional certification period, FCSL maintains that the Department could

    not impose the Sterling signature requirement. This argument is similarly

    unavailing.

           First, although FCSL asserts that it was not at the “end” of a provisional

    certification period, the record is not so clear. At the time the Department

    issued the Sterling Decision, because FCSL had a timely application for

    recertification pending, it continued to operate under the month to month

    extension of the PPA that expired in 2016, which was not provisional. 16

    However, in the Department’s June 18, 2019 Letter regarding FCSL’s failure

    to meet the standards of financial responsibility, the Department conditioned

    FCSL’s continued participation in Title IV, HEA programs on its satisfaction of

    one of two financial responsibility alternatives.                FCSL elected to continue

    pursuant to the “Provisional Certification Alternative” and posted three letters

    of credit. As such, it appears that FCSL was operating under a provisional

    certification after posting the letters of credit. FCSL maintains it was not at

    the “end” of any such provisional certification and relies on language in the June



    16As noted in footnote 5 above, so long as an institution has submitted a timely and materially
    complete application for recertification, the institution's existing certification is extended on a
    month to month basis until the end of the month in which the Secretary issues a decision on
    the application for recertification. See 34 C.F.R. § 668.13(b)(2).




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    18, 2019 Letter that under the Provisional Certification Alternative it would

    “be provisionally certified for a period of up to three complete award years.”

    See June 18, 2019 Letter at 2. However, this language does not appear to

    grant FCSL provisional certification under those terms for a three year period.

    Instead, it appears to require that FCSL remain provisionally certified for up

    to three years. 17      Nevertheless, at that time, FCSL continued to operate

    pursuant to the month to month extension of its expired PPA albeit with the

    additional financial responsibility condition.           As such, it appears that any

    provisional certification period that began with the June 18, 2019 Letter would

    have “ended” when the Department reached a decision on FCSL’s 2016

    application for recertification, which occurred when it issued the PPPA. See

    34 C.F.R. § 668.13(b)(2); see also Frola Decl. ¶ 14.

           Regardless, while FCSL contends that the Department may “only”

    require an owner such as Sterling to assume joint liability at the end of a

    provisional certification period, the word only does not appear in the regulation.

    FCSL offers no authority or argument to support a conclusion that the

    permissive language of 34 C.F.R. § 668.175(f)(3)(ii) is intended to be exclusive.

    Given the Department’s broad discretion under § 668.14(a)(1) to impose

    additional conditions in the terms of a PPA, the Court is not convinced that


    17“Under this alternative, InfiLaw must post an irrevocable LOC in the amount of $5,681,255
    and be provisionally certified for a period of up to three complete award years.” Id. (emphasis
    added).




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    because § 668.175(f)(3)(ii) specifies one circumstance where the Department

    may require joint liability, the Department is thereby precluded from imposing

    such a requirement in any other circumstance. Based on the foregoing, the

    Court finds that FCSL has not demonstrated a substantial likelihood of success

    in showing that either 20 U.S.C. § 1099c(e) or 34 C.F.R. § 668.175(f)(3)(ii) render

    the Department’s Sterling Decision contrary to law or in excess of its statutory

    authority.

                  2. Factual Basis

           Next, FCSL maintains that the Department’s Sterling Decision was

    arbitrary and capricious because the Department “failed to offer any

    justification for why Sterling’s signature was necessary to protect the financial

    interest of the United States . . . .”     18   See Motion at 21. In addition, FCSL

    maintains that “[t]here is significant evidence that the financial interests of the

    United States are amply protected without Sterling’s assumption of joint

    liability.” See id. at 23. Because, in FCSL’s view, Sterling’s signature was not

    necessary to protect the United States’ financial interest, FCSL maintains that

    the Department’s decision to require it was arbitrary and capricious and

    contrary to law. However, as stated above, FCSL has not succeeded in showing



    18 Notably, although FCSL spent months attempting to convince the Department not to
    require Sterling’s signature because the Sterling LPA precluded it from signing the PPPA,
    FCSL never asserted that the Department could not lawfully require Sterling’s signature, or
    that it could do so only as necessary to protect the financial interest of the United States.




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    that the Department was required to make such a finding before imposing the

    Sterling signature requirement.     Rather, on the record before the Court, it

    appears that the Department was permitted to require Sterling’s assumption of

    liability so long as the decision to do so was not arbitrary and capricious.

    Nevertheless, under either standard, the Court finds that FCSL has not shown

    that it is substantially likely to succeed on these arguments either.

          As an initial matter, while the Department may not have set out its

    rationale for requiring the Sterling signature in its communications with FCSL,

    the Court is of the view that the basis for this requirement is apparent from the

    record. See Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419

    U.S. 281, 285 (1974) (“While we may not supply a reasoned basis for the agency’s

    action that the agency itself has not given, we will uphold a decision of less than

    ideal clarity if the agency’s path may reasonably be discerned.” (internal

    citation omitted)).   The PPPA itself explains that: 1) “FCSL owes certain

    money to the Department,” 2) recent investigations have revealed “serious,

    repeated or systemic deficiencies that directly relate” to FCSL’s administrative

    capability, and 3) FCSL did not meet the financial responsibility standards for

    the 2018 fiscal year. See PPPA at 2-3. Indeed, due to the closure of FCSL’s

    sister schools, InfiLaw owed the Department substantial sums of money which

    had not been paid at the time the Department issued the PPPA and which

    remain unpaid to date. And while FCSL maintains that InfiLaw’s financial




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    situation was improving following the low point resulting from ASLS and CSL’s

    closures, the financial records for FCSL’s 2019 and 2020 fiscal years still

    reflected that the school was in a precarious financial position. See Denial

    Letter at 1-2; Affirmation of Denial at 1-2 (explaining that InfiLaw’s composite

    score for the 2019 and 2020 fiscal years was -0.1, the lowest possible score). To

    the extent FCSL contends that the $5.6 million letters of credit offered ample

    security for FCSL’s future liabilities, this argument is specious. Given the

    Department’s evidence regarding Infilaw’s liabilities, the letters of credit

    appear to provide almost no protection for the Department going forward

    because they secure not only the obligations of FCSL, but also those of ASLS

    and CSL. Unless InfiLaw is successful in its pending administrative appeals,

    the “letters of credit will exceed [InfiLaw’s] debts to the Department by less

    than $160,000.” See Frola Decl. ¶ 17. Moreover, in the Affirmation of Denial,

    the Department explained that Sterling’s absence was “a material change that

    has eliminated the financial protections the Department previously determined

    would be obtained by requiring Sterling to sign the FCSL PPA.”               See

    Affirmation of Denial at 5.          This statement reflects that the Department

    believed that a guarantee from Sterling would provide additional security and

    sought to obtain that security as part of the PPPA.19



    19   As noted by the Department in argument at the hearing:




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           Based on these facts, the Court cannot say that it was arbitrary and

    capricious for the Department to seek further security by requiring Sterling,

    the hedge fund that owned 98.6% of InfiLaw, to assume joint responsibility for

    FCSL’s obligations under the PPPA. FCSL presents several reasons why, in

    its view, the Department did not need to impose such a requirement—FCSL’s

    improved financial condition, Sterling’s lack of assets, and FCSL’s last-minute

    offer of a $1 million letter of credit. 20               But none of these arguments

    demonstrate that FCSL is substantially likely to succeed in showing that the



           This is a school that was plainly in shaky financial circumstances. It was a
           school as to which the Department had very little real security over and above
           the debts owned [sic] by the previous schools that had failed under InfiLaw’s
           ownership. And all the Department was asking is that the actual beneficial
           owner of the school, the real capital with the ability to satisfy some liability, be
           willing to take on the liabilities that would otherwise fall to the taxpayers if the
           law students couldn’t repay their debts, or if the school closed precipitously.

    20 As to the letter of credit, the Court notes that this offer was emailed to the Department at
    3:41 PM on the day the signed PPPA was due. See Complaint, Ex. 11. The email states that
    the letter of credit would act as security until the sale of FCSL to Campbellsville University
    could be completed. Id. Even if the Department had time to consider this last-minute offer
    before the PPA expired, FCSL has not persuasively shown that it was arbitrary and capricious
    for the Department not to accept it. By that time, InfiLaw had discussed many potential
    transactions with the Department, none of which had come to fruition. See Frola Decl. ¶ 18.
    Thus, the Department had reason to be skeptical that the sale to Campbellsville University
    would be successful. Moreover, the email asserts that the “approximately $ 1 million surety,”
    in combination with the $5.6 million letters of credit already posted, would represent “almost
    100% of the Title IV funds disbursed last year by Florida Coastal.” Id. However, as
    discussed above, the $5.6 million letters of credit was barely sufficient to cover InfiLaw’s
    outstanding ASLS and CSL liabilities, and thus provided little security for any new liabilities
    going forward. The $1 million letter of credit on its own would represent no more than 13 to
    15 percent of the Title IV funds disbursed to FCSL in the previous year. FCSL does not argue,
    and nothing in the record suggests, that the Department ever considered such an amount to
    be sufficient security. Moreover, in this same email FCSL included the schedule to the asset
    purchase agreement that for the first time disclosed the ABA’s findings, regarding FCSL’s
    failure to satisfy accreditation standards. Findings, which according to the Department,
    raised significant new concerns.




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    Department’s decision was arbitrary and capricious.        FCSL merely offers

    reasons why it believes the Department reasonably could have reached a

    different decision, but none that demonstrate the Department was compelled to

    do so.   Review under the APA is “exceedingly deferential.”        Defenders of

    Wildlife, 733 F.3d at 1115. While FCSL has attempted to poke holes in the

    Department’s rationale, it has failed to show, at this preliminary stage in the

    proceedings, that the Department’s decision was not a rational determination

    based on relevant, factually supported factors. As such, the Court finds that

    FCSL has not shown that it is substantially likely to succeed in its challenge to

    the Sterling Decision and will deny its request for a preliminary injunction

    vacating this Decision and reinstating the prior PPA.

          B. The Reinstatement Decision

          Alternatively, FCSL challenges the Department’s decision denying

    FCSL’s application for reinstatement to the Title IV, HEA program and

    subsequent affirmance of that decision.        FCSL asks the Court to issue a

    preliminary injunction vacating the Reinstatement Decision and “restor[ing]

    FCSL’s Title IV eligibility pending a decision on the merits.” See Motion at 49.

    Notably, FCSL presents no argument or legal authority in its Motion to support

    the proposition that the appropriate relief for this APA claim would be an order

    compelling the Department to reinstate FCSL’s Title IV eligibility. Indeed,

    even if FCSL were to establish that the Reinstatement Decision was unlawful,



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    the Court questions whether FCSL would be entitled to any relief other than

    an order vacating the Decision and directing the Department to reconsider the

    reinstatement application without relying on improper factors. See Stone &

    Webster Constr., Inc. v. U.S. Dep’t of Lab., 684 F.3d 1127, 1137 (11th Cir. 2012)

    (“It is an established principle of administrative law that an appellate court

    should not ‘intrude upon the domain which Congress has exclusively entrusted

    to an administrative agency.’            Thus, ‘the proper course, except in rare

    circumstances, is to remand [a matter] to [an] agency for additional

    investigation or explanation.’” (citations omitted)); see also Fla. Power & Light

    Co. v. Lorion, 470 U.S. 729, 744 (1985) (“The reviewing court is not generally

    empowered to conduct a de novo inquiry into the matter being reviewed and to

    reach its own conclusions based on such an inquiry.”). Regardless, an order

    requiring the Department to allow FCSL to participate in the Title IV, HEA

    programs pending further review of the Reinstatement Decision would almost

    certainly constitute a mandatory injunction and, for the reasons set forth below,

    FCSL fails to show that it has a substantial likelihood of success, much less

    that it meets the heightened burden of showing a clear entitlement to the relief

    it seeks.21


    21 In the Response, the Department also asserts that the HEA “bars the injunction that
    Florida Coastal seeks.” See Response at 18. In support, the Department cites 20 U.S.C. §
    1082(a)(2). Id. This provision provides: “In the performance of, and with respect to, the
    functions, power, and duties, vested in him by this part, the Secretary may-- . . . (2) sue and
    be sued . . . but no attachment, injunction, garnishment, or other similar process, mesne or




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           To establish that FCSL is entitled to an order vacating the Reinstatement

    Decision, FCSL must demonstrate that none of the reasons the Department

    provided lawfully support the Department’s decision to deny FCSL’s request for

    reinstatement. See Fogo De Chao (Holdings) Inc. v. U.S. Dep’t of Homeland

    Sec., 769 F.3d 1127, 1149 (D.C. Cir. 2014) (“Where, as here, an agency has set

    out multiple independent grounds for a decision, ‘we will affirm the agency so

    long as any one of those grounds is valid, unless it is demonstrated that the

    agency would not have acted on that basis if the alternative grounds were

    unavailable.’” (quoting BDPCS, Inc. v. FCC, 351 F.3d 1177, 1183 (D.C. Cir.

    2003) (Roberts, J.))).22 Given the expedited nature of these proceedings and

    the limited record, the Court will not address FCSL’s challenge to every reason

    the Department provided. Rather, the Court sets forth below the evidence that




    final, shall be issued against the Secretary or property under the Secretary’s control . . . .”
    See 20 U.S.C. § 1082(a)(2) (emphasis added). Significantly, § 1082 is in Part B of the HEA,
    pertaining to the Federal Family Education Loan Program. FCSL’s challenge in this case
    stems from the Department’s duty to qualify institutions of higher education for participation
    in Title IV, HEA programs, as set forth in Part H of the HEA. Moreover, the Department
    states in its brief that the “Direct Loan program is most relevant here,” which is contained in
    Part D of the HEA. See Response at 4. Because the statutory provision on which the
    Department relies appears to be limited to the Department’s duties in the particular part
    where it is found, Part B, the Court questions whether the anti-injunction provision applies
    to the claims raised in this action. See Penn. Higher Edu. Assistance Agency v. Perez, 416 F.
    Supp. 3d 75, 95-96 (D. Conn. 2019). Nevertheless, because the Court finds that FCSL’s
    Motion is otherwise due to be denied, it need not reach a determination on this issue here.

    22 FCSL has made no attempt to show that the Department would have granted its application
    for reinstatement had any one of the alternative reasons provided for denial been unavailable.




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    most compellingly supports the Department’s decision and the areas where

    FCSL’s arguments most glaringly fall short.23

                  1.   Accreditation

           In the May 13, 2021 Denial Letter, one of the reasons the Department

    cited for its determination that FCSL was not “financially responsible” was its

    finding that FCSL did not “have the ability to provide the services described in

    its official publications and statements, and to provide the administrative

    resources necessary to comply with Title IV, HEA program requirements.” See

    Denial Letter at 3; see 34 C.F.R. § 668.171(a)(1), (3).                  Specifically, the

    Department found that FCSL advertises on its website and in its catalog that

           it provides practical training provided by experienced full-time
           faculty, offers a law library that provides students access to an
           expansive collection of information and lawyer-librarians who
           provide students with access to materials necessary to prepare
           them for their legal careers, and maintains a Center for
           Professional Development that provides support for students in all
           stages of the career planning process.

    23 In the Request for Reconsideration and the Motion, FCSL quarrels with the Department’s
    reliance on InfiLaw’s consolidated financial statements rather than those of FCSL because
    the InfiLaw financials included the losses from CSL and ASLS. However, the record reflects
    that throughout InfiLaw’s dealings with the Department, including in 2019 after the other
    two schools closed, the Department consistently made its financial responsibility
    determinations based on InfiLaw’s audited financials. See Frola Decl. at ¶ 6; June 18, 2019
    Letter at 3. InfiLaw never objected to that, and at the hearing, FCSL conceded that the
    Department was authorized to rely on those financials. Notably, FCSL points to no basis for
    finding that the Department’s decision to do so was arbitrary or capricious. Indeed, given
    that FCSL had joint and several responsibility for portions of CSL and ASLS’s liabilities, it
    would seem to have been prudent to do so. Additionally, FCSL did not even suggest that a
    review of FCSL’s audited financial statements rather than those of InfiLaw would have
    yielded a passing composite score, or that the exclusion of the CSL and ASLS losses from
    review of InfiLaw’s consolidated financials would have yielded a passing composite score.
    Thus, this argument warrants no further consideration.




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    See Denial Letter at 4.            The Department determined that FCSL was not

    providing these advertised services based upon the factual findings from the

    ABA’s March of 2020 site visit.             Id. at 3-4.     For example, the Department

    determined that contrary to FCSL’s representations regarding its law library

    and law librarians, the ABA’s factual findings reflected that FCSL was failing

    to meet the standards for maintaining a law library, a full-time director of the

    law library, and library staffing. Id. at 3. Likewise, while FCSL advertised

    assistance with career planning, the ABA found that FCSL was failing to meet

    the standards for provision of career counseling services.                         Id.    In the

    Department’s letter affirming the denial, the Department set out additional

    details from the ABA’s findings in support of its conclusions. See Affirmation

    of Denial at 2-6.24 On the record before the Court, the ABA’s factual findings


    24   For example,

            “[S]ince shortly before the site visit in March 2020, the Center for Professional
             Development (CPD) has been staffed by a single person, the Director of Admissions.”

            “[T]he law library continues to be overseen by an Interim Director who is a legal writing
             faculty member. She previously reported that she devotes three hours per week to
             administration of the library. . . . At the time of the site visit, there was no full-time
             reference librarian and no active reference service hours . . . The Dean’s Response does
             not address the concern that some reporters and codes have not been updated since
             2017 or earlier, and that the library is not subscribing to some electronic services such
             as HeinOnline and Bloomberg . . . .”

            “[T]he Law School is operating with a full-time faculty of only seven members, in
             addition to the Dean. Faculty salaries have been reduced, in-house clinics have been
             eliminated, the library budget has been severely cut, and the physical space available
             to the Law School, including its courtrooms, has been or is being reduced. The Law
             School is operating without an Assistant Dean or permanent Library Director, and the




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    appear to support the Department’s finding that FCSL was not providing

    advertised services and did not have the necessary administrative resources to

    comply with Title IV, HEA program requirements.                         See 34 C.F.R. §

    668.171(a)(1), (3).

           Nevertheless, FCSL argues at length that the Department improperly

    relied on the ABA’s factual findings. According to FCSL, by relying on the

    ABA’s findings, the Department improperly interfered with accreditation

    matters, imposing sanctions where the ABA had not.                        However, these

    arguments mischaracterize the nature of the Department’s findings.                       The

    Department did not “sanction” FCSL for failing to meet accreditation

    standards. Nor did the Department address in any way whether the ABA’s

    findings warranted sanctions from the ABA, or whether FCSL should lose

    accreditation as a result of these findings. FCSL’s reliance on the regulations

    governing accreditation matters is entirely misplaced.




           Admissions Director is also serving as the Career Services Director.”

          “A faculty member without experience in clinical legal education is directing the
           externship program.”

    See Affirmation of Denial at 3-5 (internal quotations omitted). In the Reply, FCSL provides
    some evidence that the Department did not receive these additional details regarding the
    ABA’s findings until after it issued the initial Denial Letter. See Reply at 8, Ex. 1. FCSL
    appears to contend that this undermines the legitimacy of the Department’s decision. Id.
    However, it is unclear why FCSL believes it was improper for the Department to conduct
    further investigation after receiving FCSL’s challenge to the Denial Letter. The fact that the
    Department obtained more information supporting its findings does little to suggest that the
    Department’s final decision denying FCSL’s request for reinstatement was arbitrary.




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          The issue before the Department was whether FCSL was providing the

    services it advertised in its official publications and statements. See 34 C.F.R.

    § 668.171(a)(1). The ABA’s factual findings regarding the services available at

    FCSL are evidence directly relevant to this determination.           While FCSL

    argues that the Department should have conducted its own factual

    investigation, and minimizes the ABA’s findings as merely “routine,” it does not

    cite to any legal provision precluding the Department from relying on this

    evidence in making its determination.           Indeed, 34 C.F.R. § 602.27(a)(6)

    specifically provides that the Department may request from an accrediting

    agency “information that may bear upon an accredited or preaccredited

    institution’s compliance with its title IV, HEA program responsibilities,

    including the eligibility of the institution or program to participate in title IV,

    HEA programs.”

          Significantly, FCSL does not point to any evidence in the administrative

    record demonstrating that the Department’s findings, based on the ABA’s

    investigation, were factually incorrect.          Instead, FCSL cites to the

    Department’s Final Program Review Determination dated September 10, 2020,

    in which the Department found that FCSL had taken “the corrective actions

    necessary to resolve” a previous finding that it lacked administrative capability.

    See Complaint, Ex. 20: Final Program Review at 4. FCSL contends that “[t]he

    ABA’s findings are not sufficient evidence for the Department to disregard its




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    own investigation into FCSL’s administrative practices and independent

    determination that FCSL is administratively capable of complying with Title

    IV requirements.”       See Motion at 33. This argument is at best lacking in

    merit and at worst misleading. As FCSL is aware, the findings in the Final

    Program Review were based on the Department’s review of student files from

    the 2017-2018 and 2018-2019 award years. See Complaint, Ex. 20 at 2, Final

    Program Review at 4.25 The ABA findings were based on its March 2020 site

    visit. As such, the Department’s findings in its Final Program Review in no

    way undermine or conflict with the ABA’s subsequent findings regarding the

    services actually being provided by FCSL as of the Spring of 2020. In sum, on

    the record before the Court, the Department appears to have made a rational

    determination, within its discretion, based on consideration of relevant facts

    that FCSL was not providing “the services described in its official publications

    and statements,” and was unable to provide the administrative resources

    necessary to comply with program requirements. See 34 C.F.R. § 668.171.




    25 The Final Program Review also expressly notes that the review “cannot be assumed to be
    all-inclusive” such that “[t]he absence of statements in the report concerning FCSL’s specific
    practices and procedures must not be construed as acceptance, approval, or endorsement of
    those specific practices and procedures.” Moreover, the Review “does not relieve FCSL of its
    obligation to comply with all the statutory or regulatory provisions governing the Title IV,
    HEA programs.” See Complaint, Ex. 20: Final Program Review at 4.




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             2. Fiduciary Duty

          The Department also found that FCSL’s request for reinstatement must

    be denied because FCSL had breached its fiduciary duty to the Department.

    See Denial Letter at 4-6. Although the Department lists several examples of

    FCSL’s breach of that duty, the Court will highlight three here. Among other

    communications, the Department pointed to two emails. In the first email

    dated January 15, 2021, FCSL stated that “‘[w]e are in full compliance with the

    ABA standards, and are meeting the ABA’s more stringent bar pass rates.’”

    See Affirmation of Denial at 14. In the second email, dated March 26, 2021,

    FCSL represented to the Department that “‘[t]erminating Title IV eligibility

    and effectively forcing the closure of the school—a school in compliance with

    ABA requirements including the new, stringent requirements regarding bar

    passage—over this new requirement would displace many students, faculty and

    staff.” Id. Given the ABA’s August 2020 and February 2021 findings that the

    school was not in compliance with a number of standards, FCSL fails to suggest

    why the the Department could not rationally conclude that it was misleading

    for FCSL to represent that it was “in compliance,” much less “full compliance,”

    with ABA standards.

          Notably, FCSL does not dispute the underlying facts supporting this

    determination.   Instead, FCSL argues at length that no specific regulation

    required it to report this information to the Department. Once again, however,




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    FCSL misapprehends the Department’s findings.           The Department did not

    determine that FCSL had failed to comply with its regulatory disclosure

    requirements.      The Department found that FCSL made affirmative

    statements to the Department which were misleading under the circumstances.

    Significantly, the regulations require FCSL to act in the nature of a fiduciary,

    “with the competency and integrity necessary to qualify as a fiduciary.” See 34

    C.F.R. § 668.82(a). A fiduciary has “an affirmative duty of utmost good faith,

    and full and fair disclosure of all material facts, as well as an affirmative

    obligation to employ reasonable care to avoid misleading” the beneficiary of the

    fiduciary duty. See Sec. & Exch. Comm’n v. Cap. Gains Res. Bureau, Inc., 375

    U.S. 180, 194 (1963) (emphasis added). Indeed, Black’s Law Dictionary defines

    a “fiduciary duty” as one of “utmost good faith, trust, confidence, and candor

    owed by a fiduciary . . . to the beneficiary . . . .” See “fiduciary duty,” Black’s

    Law Dictionary (11th ed. 2019) (emphasis added).

          Thus, even if FCSL is correct that no specific regulation required it to

    disclose the ABA’s findings, it nevertheless had an affirmative duty to avoid

    misleading the Department. Thus, when FCSL chose to comment on its status

    with the ABA in its emails to the Department, FCSL, as a fiduciary, could not

    make statements that were misleading or half-truths. On this record, FCSL

    has failed to show that it was arbitrary for the Department to conclude that

    FCSL breached its fiduciary duty by affirmatively stating that it was in “full




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    compliance” with ABA Standards, when the ABA had recently determined and

    communicated to FCSL that it was not in compliance with several of its

    standards.

          To the extent FCSL argues that these representations were simply

    “obvious misstatements,” the Court is unconvinced.        FCSL points to no

    evidence suggesting to the Department that the statements were inadvertent

    misstatements, much less any evidence that would have compelled the

    Department to conclude that they were simple misstatements not misleading

    statements.   Significantly, the Department noted that FCSL made these

    statements in communications where it was attempting to persuade the

    Department to grant FCSL’s request for recertification and rescind the Sterling

    Decision. See Affirmation of Denial at 13-15. Moreover, in the Department’s

    view, FCSL understood the materiality of the ABA’s findings given its decision

    to disclose the information in the asset purchase agreement with

    Campbellsville University.     Id. at 14.     Likewise, FCSL knew of the

    significance of such findings to the Department because the Department had

    previously denied CSL’s application for recertification, and affirmed that

    denial, based in part on the ABA’s findings and the fact that CSL continued to

    represent on its website that it was in “full compliance” with ABA standards

    despite notice from the ABA that it was not. See Frola Decl., Ex. A. On this

    record, it appears the Department could rationally conclude that FCSL’s




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    statements were material and misleading. Moreover, given what appear to be

    affirmative misrepresentations to the Department, FCSL’s attempt to

    recharacterize the Department’s decision as one premised on an arbitrary

    reporting requirement is unavailing.     At this stage of the proceedings, the

    Court is not convinced that the Department’s breach of fiduciary duty finding

    was arbitrary and capricious, contrary to law or otherwise unlawful under the

    APA.

           The Department also found that on at least two separate occasions FCSL

    failed to meet its fiduciary obligations in communications regarding a proposed

    sale of the school and conversion to non-profit status. In 2019, FCSL applied

    to the ABA to convert to non-profit status and change its ownership to the

    PhoenixLaw Foundation. See Affirmation of Denial at 6. In May and June of

    2019, while the ABA was reviewing this proposal, FCSL was engaged in

    settlement discussions with the Department seeking to limit FCSL’s exposure

    to the liabilities of CSL and ASLS, which FCSL maintained was necessary for

    its conversion and acquisition to proceed. Id. According to the Department,

    FCSL breached its fiduciary obligation during these settlement discussions and

    negotiations with the Department because FCSL failed to disclose “the true

    nature and provisions of the proposed transaction . . . .” See Affirmation of

    Denial at 12. The Department explains that FCSL never disclosed that “the

    proposed transaction included a contractual arrangement with a servicing




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    entity that was designed to capture significant portions of the then-nonprofit

    law school’s revenue to pay InfiLaw and Holding’s senior secured debt of $24.8

    million, most of which was associated with CSL and ASLS.”             Id.    The

    Department stated that had it known about this arrangement, it would have

    considered it “to be a deal breaker,” both as to FCSL’s request for a change in

    ownership and the settlement negotiations to limit FCSL’s liabilities. Id.

          Significantly, FCSL does not dispute the Department’s characterization

    of the PhoenixLaw Foundation transaction, and indeed the Department’s

    summary of the transaction is supported by the ABA’s findings reproduced in

    the Affirmation of Denial.   Nor does FCSL offer any evidence to rebut the

    Department’s representation that it would have considered the full terms of the

    transaction to be a “deal breaker” had it known about them at the time of the

    settlement negotiations. Thus, nothing in the record supports a finding that it

    was arbitrary and capricious for the Department to view the undisclosed

    aspects of the proposed transaction as material information.

          In March of 2021, FCSL again relied on a potential sale of FCSL to ask

    the Department to act in its favor. Specifically, the day before its PPA was set

    to expire, FCSL informed the Department that it had signed an asset purchase

    agreement with Campbellsville University and “[t]he parties have agreed to

    expeditiously close upon completion of all regulatory and accreditation

    processes.”   See Complaint, Ex. 11.          FCSL expressed its hope that the




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    Department would maintain FCSL’s PPA, without requiring Sterling’s

    signature, while it sought approval for the transaction. Id. However, FCSL

    failed to provide the Department with all relevant information, most notably,

    FCSL failed to disclose what agreement, if any, had been reached with

    Campbellsville University regarding the disposition of the senior secured debt.

    See Affirmation of Denial at 13.       As such, the Department found this

    communication to be a breach of FCSL’s fiduciary duty to “provide complete

    contracts and documents to the Department and to disclose all aspects of its

    proposed transactions,” particularly given that FCSL “was requesting that the

    Department extend its participation in the Title IV, HEA programs.”          Id.

    Given the significance of the senior secured debt in the prior attempts to sell

    FCSL, and the central role the debt played in the ABA’s review of the

    PhoenixLaw transaction, FCSL does not persuasively argue that it was

    unreasonable for the Department to view FCSL’s failure to include the relevant

    attachments or otherwise disclose any information regarding this debt in the

    March 30, 2021 email as a material omission.

          FCSL again attempts to characterize these findings as imposing

    regulatory reporting requirements that do not exist.        But, regardless of

    whether the regulations required FCSL to inform the Department of its

    preliminary plans for any sale, when FCSL chose to notify the Department of

    these plans, it had an obligation to do so with full candor and in a manner that




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    did not mislead the Department about the nature of the transaction. As noted

    by the Department, in both instances, FCSL presented the proposed

    transactions in an attempt to convince the Department to act—agree to a

    settlement insulating FCSL from certain liabilities in the first instance, and

    approve its recertification application without requiring Sterling’s assumption

    of joint liability in the second instance. Given FCSL’s fiduciary obligations to

    the Department, FCSL’s contention that it did not need to disclose this

    information because the Department never specifically asked for it is unlikely

    to succeed.

          In light of the foregoing, FCSL has failed to show that it has a likelihood

    of success on its claim that the Department’s determination that FCSL violated

    its fiduciary duty obligations was arbitrary and capricious, contrary to law, or

    otherwise in violation of the APA.

                   3. Letter of Credit

          Last, FCSL contends that the “Department’s failure to consider FCSL’s

    letter of credit in finding that FCSL is not financially responsible renders the

    May 13, [2021] decision and Affirmance arbitrary and capricious.” See Motion

    at 44. According to FCSL, the Department failed to explain why the letters of

    credit in the amount of $5.6 million, which FCSL characterizes as equal to 78%

    of its Title IV funding in the previous fiscal year, were insufficient to meet the

    financial responsibility requirements.         Id. at 43-44.   Upon review of the




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    record, however, FCSL’s reliance on the letters of credit appears to be

    unavailing. In June of 2019, the Department notified InfiLaw that in order for

    it to continue to participate in Title IV, HEA programs through FCSL, InfiLaw

    would be required to post a letter of credit representing a percentage of the Title

    IV, HEA program funds received by InfiLaw in the two previous fiscal years.

    See June 18, 2019 Letter. Thus, the $5.6 million letters of credit posted by

    InfiLaw secured not only FCSL’s liabilities, but also InfiLaw’s other liabilities

    from CSL and ASLS as well. The Department represents that ASLS and CSL

    owe approximately $5,522,233 to the Department, $3,605,688 of which is

    uncontested. See Frola Decl. ¶¶ 9, 12-13, 17. According to the Department,

    the $5.6 million in security exceeds InfiLaw’s current debts to the Department

    by less than $160,000. See id. ¶ 17. And, the Department states that InfiLaw

    is facing another $167 million in potential liability based on applications from

    former students seeking student loan discharges based on allegations of fraud.

    Id. ¶ 13. As such, the mere fact that InfiLaw had previously provided the

    Department with letters of credit totaling $5.6 million is insufficient to

    establish that the Department’s finding that FCSL was not financially

    responsible was arbitrary and capricious.26 Because FCSL fails to show that



    26 Regardless, even if FCSL could demonstrate financial responsibility, it is unlikely this
    would be sufficient to establish a “clear entitlement” to the relief it seeks. As explained above,
    the Department also denied FCSL’s request for reinstatement based on its breaches of its
    fiduciary duty obligation, as such it would not appear to be qualified to proceed under a letter




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    it is substantially likely to succeed on its challenges to the Reinstatement

    Decision, much less that it is clearly entitled to the relief it seeks, the Court

    finds that the Motion is due to be denied.27

         V.     Letter of Intent

              Before concluding, the Court pauses to address the letter of intent

    mentioned for the first time in FCSL’s Reply and submitted to the Court under

    seal. See Minute Entry (Doc. 27); Letter of Intent (Doc. 28). In its Motion,

    FCSL asserts that it needs injunctive relief in order to stay in business long

    enough to consummate a transaction to change FCSL’s ownership to a “100-

    year-old nonprofit institution with more than $147 million in assets . . . .” See

    Motion at 47. At the hearing, FCSL acknowledged that this reference is to

    Campbellsville University. In the Reply, FCSL asserts that injunctive relief is




    of credit alternative.

    27 To the extent FCSL argues that, having accepted the $5.6 million letters of credit, the
    Department was required to approve FCSL’s request for recertification on the same terms set
    forth in the June 18, 2019 Letter, this argument is unavailing. FCSL points to no regulation
    or specific term in the letter that required the Department to issue a new provisional PPA
    relying solely on the letters of credit for financial security. Indeed, the $5.6 million letters of
    credit appear to have operated to secure InfiLaw’s liabilities during the period while the
    Department finished reviewing FCSL’s application for recertification. When the Department
    offered to allow FCSL to continue to participate in Title IV, HEA programs on those terms,
    FCSL was operating on the automatic month-to-month extension of its prior PPA pending a
    decision on its 2016 application for recertification. Thus, it appears the Department
    approved FCSL’s participation under those terms only until it acted on the pending
    application. It was not determining what security would be sufficient to support a new
    provisional PPA. In 2020, on the other hand, the Department was acting on that application,
    formally granting provisional certification to allow FCSL’s continued participation in Title IV,
    HEA programs and setting the terms of the new PPPA under which FCSL could operate for a
    period not to extend beyond September 2023.




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    warranted because it has “entered into an agreement with a well-established

    Financial Partner . . . that will provide for the continued operations of the school

    so long as it is restored to Title IV.”     See Reply at 11.    In support, FCSL

    provided the court with a letter of intent signed by this Financial Partner.

    However, for the reasons discussed at the hearing, this letter of intent, which

    is “qualified in its entirety” by the terms of an agreement that has yet to be

    negotiated or executed, is simply insufficient for the Court to make any

    determination as to the merits of this transaction.          Regardless, it is not

    appropriate for the Court to determine in the first instance whether this letter

    of intent provides sufficient financial security to warrant restoring FCSL to

    Title IV eligibility. That is unquestionably the role of the Department, not the

    Court.

       VI.   Conclusion

          On the record before the Court, FCSL has failed to show that preliminary

    injunctive relief is warranted. Although FCSL characterizes its request as a

    return to the status quo, FCSL waited over three and a half months after the

    expiration of its prior PPA to file this lawsuit.      During that time, Sterling

    relinquished its ownership of InfiLaw.          Thus, were the Court to order the

    Department to restore or reinstate FCSL’s eligibility, it would be requiring the

    Department to operate under or enter into a PPA, and potentially issue millions

    of dollars in student loans, with an entity whose owners are unknown.




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    Moreover, FCSL has entered into the Teach-Out Plan with the ABA which

    provides for the imminent closure of the school.         The record provides no

    information at all as to what position the ABA would take on FCSL’s desire to

    resume classes this fall should the Court restore its Title IV eligibility. Thus,

    a return to the “status quo” existing prior to the expiration of the PPA no longer

    appears to be available.

          Nevertheless, FCSL cannot obtain the preliminary injunction it seeks

    because it has failed to establish a substantial likelihood of success on the

    merits of its APA claim. See Pittman v. Cole, 267 F.3d 1269, 1291-92 (11th

    Cir. 2001) (noting that Eleventh Circuit “cases have uniformly required a

    finding of substantial likelihood of success on the merits before injunctive relief

    may be provided”). FCSL has not shown that the Department acted contrary

    to the law or outside of its ample discretion in determining whether FCSL was

    eligible to participate in the Title IV, HEA programs or the conditions under

    which the Department would issue a new PPA. Nor has FCSL shown that the

    reasons the Department provided for its determination were based on

    irrelevant factors or unsupported by the administrative record before the

    agency. While it is possible that FCSL might be able to establish, at a later

    stage of these proceedings and upon a more complete administrative record,

    that the Department’s reasoning was flawed, on this record the Court cannot




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    find that the Department’s decisions were arbitrary and capricious, contrary to

    law, or otherwise in violation of the applicable statues or the Constitution.28

           In the Complaint and the Motion, FCSL                        highlights its own

    accomplishments and those of its graduates. FCSL emphasizes the value that

    it has brought to the community and its laudable goal of trying to bring diversity

    to the legal profession.         And it describes the many contributions of its

    graduates to both the legal community and the community at large.                        The

    Court’s decision here in no way denigrates the contributions of FCSL, the goals

    of its founders, or the accomplishments and contributions of its proud

    graduates. In ruling on the Motion, the Court makes no attempt to assess the

    value of those contributions or determine whether those contributions and the

    attempts FCSL has made to improve its services over the last several years

    warrant permitting it to continue to offer legal education services. That simply

    is not the question before the Court.            The question is not whether, in the

    Court’s view, FCSL should continue. The sole question is whether FCSL can

    succeed in its claim under the APA that the Department’s decisions that

    resulted in the termination of FCSL’s eligibility to participate in Title IV, HEA

    programs were arbitrary and capricious, an abuse of discretion, contrary to law,



    28The Court notes that its findings of fact and conclusions of law do not necessarily reflect
    what may be established by a review of the complete administrative record. Accordingly, the
    determinations in this Order are expressly limited to the record before the Court at this time
    and should not be interpreted as a final decision regarding any disputed issues.




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    or in excess of the Department’s authority. The Court must not and does not

    exercise its own judgment as to the value of FCSL to the community or

    substitute its own judgment as to whether FCSL should be permitted to

    continue to participate in Title IV, HEA programs. The eligibility of FCSL to

    do so is for the Department to decide and where the Department’s decision

    complies with the Department’s legal obligations, the Court has not authority

    to displace it.

          The Court recognizes that the denial of injunctive relief here may well

    end FCSL’s battle to continue to provide legal education in the Jacksonville

    community. While the school’s closure has been anticipated at least since the

    ABA’s approval of the Teach-Out Plan, no doubt some students, faculty and

    staff have clung to the hope that the school would find a way to reopen. The

    closure may significantly jeopardize the dreams of hardworking students and

    the financial futures of the remaining students, faculty, staff, and investors.

    But a dire outcome, no matter how devastating, cannot support the entry of

    injunctive relief in a case such as this where the school has made no showing

    that it can ultimately succeed on the merits of its attempt under the APA to

    obtain an order requiring the Department to reinstate its eligibility to

    participate in Title IV, HEA programs.        Without finding a substantial

    likelihood of success, the Court cannot issue the requested injunction. See

    Pittman, 267 F.3d at 1292; Am. C.L. Union of Fla., Inc. v. Miami-Dade Cty. Sch.




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    Bd., 557 F.3d 1177, 1198 (11th Cir. 2009) (“[f]ailure to show any of the four

    factors is fatal, and the most common failure is not showing a substantial

    likelihood of success on the merits.”).      The outcome here is certainly

    unfortunate for all involved, but it is the outcome required by the law.

    Accordingly, it is

            ORDERED:

            Plaintiff’s Emergency Motion for Temporary Restraining Order and/or

    Preliminary Injunction and Memorandum of Law (Doc. 5; Motion) is DENIED.

            DONE AND ORDERED in Jacksonville, Florida this 9th day of August,

    2021.




    lc28/lc11
    Copies to:

    Counsel of Record




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